          Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 1 of 96



Ashley M. Gjovik, JD
In Propria Persona
2108 N St. Ste. 4553
Sacramento, CA, 95816
(408) 883-4428
legal@ashleygjovik.c om




              United States District Court
              Northern District of California




ASHLEY GJOVIK, an individual,                 Case No. 3:23-CV-04597-EMC

      Plaintiff,

                                              Declaration
                                              of Ashley Gjovik
    vs.
                                              Civil L.R. 7-3, 7-5


APPLE INC, a corporation,
                                              Motion Hearing & Case
      Defendant.
                                              Management Conference:
                                              Dept: Courtroom 5 (Zoom)
                                              Judge Edward M. Chen
                                              Date: August 22, 2024
                                              Time: 1:30 PM PT




                                 -1-
               Declaration & Exhibits | 3:23-CV-04597-EMC
       Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 2 of 96




Declaration of Ashley Gjovik

Pursuant to 28 U.S.C.§ 1746, I, Ashley M. Gjovik, hereby declare as follows:

      My name is Ashley Marie Gjovik. I am a self -represented Plaintiff in this

above captioned matter. I make this Declaration based upon my personal

knowledge and in support of Plaintiff ’s Opposition (Docket No. 84 and 85) to

Defendant’s Motion to Dismiss ( Docket No. 78) and Motion to Strike ( Docket No.

79), and to swear to the accuracy of exhibits in the Request for Judicial Notice

(Docket No. 86). I have personal knowledge of all facts stated in this Declaration,

and if called to testify, I could and would testify competently thereto.

      On July 30 -31 2024, I created a table summarizing the claims challenged in

each motion to dismiss, as referenced in the Opposition memo. Attached as

Exhibit A is a true and correct copy.

      On July 30 -31 2024, I copied the table of contents from all my filed

complaints and combined them into this document. Attached as Exhibit B is a true

and correct copy.

      On July 30-August 1 2024, I manually created a rough index from my

complaints (original, first amended, second amended, third amended) and

combined them into this document. Attached as Exhibit C is a true and correct

copy. I believe this to be accurate.

      On July 31-August 1 2024, I gathered copies of my emails with Apple’s

lawyers where I attempted to meet/confer with them. Attached as Exhibit D is a

true and correct copy of these documents.


                                -1-
              Declaration & Exhibits | 3:23-CV-04597-EMC
       Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 3 of 96




      On July 31-August 1 2024, I gathered copies of my emails with Apple’s

lawyers where they complained about my NLRB charges about them, and the two

associated NLRB charges. Attached as Exhibit E is a true and correct copy of these

documents.

      On July 31-August 1 2024, I gathered copies of Wikipedia and Twitter

content where Apple (some agents thereof ) were extensively harassing me about

this lawsuit and trying to make me sound insane. Attached as Exhibit F is a true

and correct copy of this content.

      I declare under penalty of perjury under the laws of the United States that

the foregoing is true and correct and that this declaration was executed on August

1 2024 in Boston, Massachusetts.



Executed on: August 1 2024



Signature:




/s/ Ashley M. Gjovik
Pro Se Plaintiff

Email: legal@ashleygjovik.com
Physical Address : Boston, Massachusetts
Mailing Address: 2108 N St. Ste. 4553 Sacramento, CA, 95816
Phone: (408) 883-4428


                               -2-
             Declaration & Exhibits | 3:23-CV-04597-EMC
    Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 4 of 96




Table of Contents



    Appendix: Table of Exhibits .................................................... 4

    Exhibit A: Claim & 12(b)(6) Histor y ......................................... 5

    Exhibit B: Complaint Table of Contents ..................................... 7

      Original Complaint: Filed Sept. 7, 2023. .......................................... 7

      First Amended Complaint: Filed October 25, 2023. .......................... 8

      Second Amended Complaint: Filed December 21, 2023. ................... 11

      Third Amended Complaint: Filed Februar y 27, 2024. ...................... 16

      Fourth Amended Complaint: Filed June 18, 2024. .......................... 18

    Exhibit C: Complaint Index .................................................... 19

      Original Complaint: Filed Sept. 7, 2023. ......................................... 19

      First Amended Complaint: Filed October 25, 2023. ........................ 28

      Second Amended Complaint: Filed December 21, 2023. .................. 30

      Third Amended Complaint: Filed Februar y 27, 2024. ......................37

    Exhibit D: Attempt to Meet/Confer (Emails) ............................. 42

    Exhibit E: Emails RE: NLRB & Last Hearing ............................. 77

    Exhibit F: June -July 2024 Wikipedia Vandalism about This Lawsuit 87




         Declaration & Exhibits | 3:23-CV-04597-EMC
   Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 5 of 96




Appendix: Table of Exhibits

                       RECORD DESCRIPTION

  EXHIBIT A            Gjovik v Apple, c laim & 12(b)(6) histor y

  EXHIBIT B            Table of Contents c opied from a ll filed c omplaints

  EXHIBIT C            Indexes created (after the fact) for a ll complaints

  EXHIBIT D            Emails: attempt to meet/confer

  EXHIBIT E            Emails: NLRB & prior hearing

  EXHIBIT F            Wikipedia vanda lism a bout this case




                          -4-
        Declaration & Exhibits | 3:23-CV-04597-EMC
             Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 6 of 96




Exhibit A: Claim & 12(b)(6) History
    Gjovik v Apple , Claim History per Complaint Version and 12(b) (6) Motion


                First      Second     Third       Decision &    4AC          Fourth MTD
                MTD        MTD        MTD         Order         ()           (7/15/24)
                (11/16)    (1/18)     (3/26/24)   (5/20/24)
RICO –          12(b)(6)   12(b)(6)   12(b)(6)    Dismissed
Money                                             with
Laundering                                        Prejudice
RICO –          12(b)(6)   12(b)(6)   12(b)(6)    Dismissed     Did Not
Enterprise                                        with LTA      Amend
RICO –          12(b)(6)   12(b)(6)   12(b)(6)    Dismissed     Did Not
Conspiracy                                        with LTA      Amend
Bane Act        12(b)(6)   12(b)(6)   12(b)(6)    Dismissed     Did Not
                                                  with LTA      Amend
Ralph Act       12(b)(6)   12(b)(6)   12(b)(6)    Dismissed     Did Not
                                                  with LTA      Amend
SOX & Dodd      12(b)(6)   12(b)(6)   12(b)(6)    Dismissed
Frank                                             with
(Securities                                       Prejudice
Fraud)
Ultrahazardo    12(b)(6)   12(b)(6)   12(b)(6)    Dismissed –
us (CERCLA)                                       SOL
                                                  Expired
Ultrahazardo    12(b)(6)   12(b)(6)   12(b)(6)    Approved      Retained     12(b)(6)
us (Fab)
Nuisance        12(b)(6)   12(b)(6)         —     Approved      Retained     12(b)(6)
(Fab)
Nuisance per    12(b)(6)   12(b)(6)   12(b)(6)    Dismissed     Did Not
se (Fab)                                          with LTA      Amend
Nuisance        12(b)(6)   12(b)(6)   12(b)(6)    Dismissed –
(CERCLA)                                          SOL
                                                  Expired
CLC 1102.5      12(b)(6)      —       12(b)(6)    Approved      Amended /    Partia l
                                                  to            Supplement   12(b)(6):
                                                  Supplement    ed           Smuggling;
                                                                             Sanctions;
                                                                             Env Crim es;
                                                                             Gobbler
Smuggling          —         —              —           —       Retained     12(b)(6)
Sanctions          —         —              —           —       Retained     12(b)(6)
Pales tine      N/A        N/A        N/A         N/A           Added        12(b)(6)
CLC 98.6           —         —              —           —       Retained     12(b)(6);
                                                                             12(f )




                  Declaration & Exhibits | 3:23-CV-04597-EMC
              Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 7 of 96




                 First       Second     Third        Decision &    4AC            Fourth MTD
                 MTD         MTD        MTD          Order         ()             (7/15/24)
                 (11/16)     (1/18)     (3/26/24)    (5/20/24)
 CLC 96k         12(b)(6)    12(b)(6)   12(b)(6)     Approved      Amended /      12(b)(6)
                                                     to            Supplement
                                                     Supplement    ed
 CLC 232             —          —           —            —         Retained       12(b)(6)
 CLC 232.5           —          —           —            —         Retained       12(b)(6)
 CLC 1101            —          —           —            —         Retained       12(b)(6)
 CLC 1102            —          —           —            —         Retained       12(b)(6)
 Tamney              —          —           —            —         Retained              —
 CLC 6310            —          —           —            —         Retained       Partia l
                                                                                  12(b)(6)
 CLC 6399.7          —          —           —             —        Retained       12(b)(6)
 IIED –              —          —       12(b)(6)     Dismissed     Amended /      12(b)(6)
 Outrageous                                          with LTA      Supplement
                                                                   ed
 IIED –              —          —       12(b)(6)     Approved      Retained       12(b)(6)
 Cancer
 NIED                —          —       12(b)(6)     Dismissed     Did Not
                                                     with LTA      Amend
 Breach of           —          —       12(b)(6)     Dismissed     Did Not        Accuses
 Implied                                             with LTA      Amend          Plaintiff of
 Contract                                                                         Misconduct
 Breach of           —          —       12(b)(6)     Approved      Retained       12(b)(6)
 Good Faith &
 Fair Dealing
 UCL 17200 –         —          —       12(b)(6)     Injunction    Amended /      12(b)(6)
 Injunction                                          Approved      Supplement
                                                                   ed


This table was created by hand by Plaintiff Ashley Gjovik as a reference as to which claims
were argued or challenged and when .




                                      -6-
                    Declaration & Exhibits | 3:23-CV-04597-EMC
 Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 8 of 96



Exhibit B: Complaint Table of Contents

Original Complaint: Filed Sept. 7, 2023.
Table of Contents (As Filed ; Docket No. x)

I.       S UM M A RY 4
I I.     J U R IS D IC TI ON            5
I I I.   V EN U E              6
I V.     PA RT I ES            7
V.       N OT I C E OF P EN D EN C Y & C ONF L IC T OF L AWS                              7
V I.     G EN ER A L A LL EGAT I ONS 9
V I I.   LE GA L C L AI M S             49
A.       S OX WH I S TL E BL OW E R R ETA L IAT I ON ( 15 U. S. C. § 15 14 A) 50
            i.      Ev i de nc e of P re text (to be i nc orp orate d i n al l d i sch ar ge c la i ms): 52
B.       DO D D FR A N K WH IS T LE BL OW E R RE TAL I ATI ON                             56
C.       B AN E C I V IL R I GHTS AC T: C A L. C IV. CO D E § 5 2. 1 57
D.       R A LP H C I V IL R I GHT S AC T: C AL. C IV. CO D E § 51. 7 60
E.       R AC K ET E ER IN F LU E NC E D C OR RUP T ORGAN IZ AT IO NS AC T                                 61
            i.      St a nd i ng & P le ad i ng 62
            ii .    Co n duc t & Vi ol at i on s u nd er 1 8 U. S . C. § 19 62 (a) , (c) , (d ) 64
            ii i. C re at i on , Nat ure, a n d O pe rat io n of t he E nte rpr i se 65
                          a) Ap p le a s a C or po rate D e fen da nt            66
                          b) Th e “Wor ld w id e L oyalt y Team” E nte rp ri se 6 7
            iv.     Pat te r n; Vert ic a l a nd Ho riz o nt a l Re lated n ess of Pre d icate Act s       69
            v.      Th e Sc h e m es 76
            v i.    Pre d ic ate Ac t s/ T hreat s I nvo lvi n g Ce rt a i n St ate Of fe ns es 7 9
                          a) Cr i m in al B ri ber y o f Exe cut i ve O ff ic er ( C al . Pen al Co de § 6 7 )     79
                          a) Cr i m in al Co m m e rci al B r ib er y ( Ca l. Pe na l C od e § 6 41. 3) 81
                          b) Cr i m in al Ex tort io n ( C al i fo rn ia Pe na l C od e § 5 18 ) 84
            v ii . Pre d ic ate Ac t s I nd ict a bl e Un de r T it l e 18 U S Co de                88
                          a) Ma il Fraud & Wire Frau d (1 8 U S C od e §§ 1 341 , 1343)                    88
                          b) Ta m pe ri n g w it h Wit ne ss , Vict i m, In for ma nt (18 U. S. Co d e § 15 12 )
                               92
                          c) Ret a l iat in g a gai n st Wit n ess , Vict i m, In for ma nt ( 18 U. S . C § 15 13)
                               10 2
            v ii i. Pre d ic ate Ac t s I nd ict a bl e Un de r T it l e 11 U S C ( S ecu rit i es)        10 6
                          a) S ec u rit ie s Fraud (15 U S C § 78 )              10 6
            i.      Pre d ic ate Ac t s I nd ict a bl e Un de r §233 2(b)( g )( 5) ( B)             110
                          a) Re lat in g to Ch e m ica l We apo n s (1 8 U S C § 2 29 )             110
            ii .    I nj ur y i n Fac t to P la i nt i f f du e to Rac ke te eri n g Ac t 116
            ii i. Co nt i nu it y & T hreat to Co nt i nu e           120
F.       R ETA LI AT IO N U N D E R C AL I FOR NI A L A B O R C O DE 120
            i.      Ca li for ni a W h ist le bl owe r P ro tect i on Act : Ca l. L abor Co d e §11 0 2. 5         121
                          a) Vid eo Rec ordi n g i n Bat h roo m s: Ca l. L abo r C od e § 435             122
            ii .    Ret a l iat io n for Fi l in g a Labo r C o m pla i nt : Ca l. L abor Co d e § 98. 6 123
                          a) Ret a l iat io n re: Wo rk Co nd it io ns : C al . Lab or Co de §232 .5 (v ia § 98 . 6)
                               123
                          b) Lawf u l O ff -D ut y Co n du ct : Ca l. Lab or Co de § 9 6 (k) (vi a 98 . 6)         124
            ii i. Ret a l iat io n for S a fet y C o mp la int s: Ca l. L abo r C od e § 6310              125
                          a) R ig ht - to- K n ow Ret a li at i on : C al . Lab or Co de §63 9 9. 7 (v ia § 6310 ) 128




                                      -7-
                    Declaration & Exhibits | 3:23-CV-04597-EMC
 Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 9 of 96



Original Complaint: Filed Sept. 7, 2023 (Cont.)

G.        WRON GF U L D IS CH A RG E I N V I OLAT ION OF P U BL I C P OL I C Y                    130
            i.     I nv a si on of Pr ivacy ( Ca l . C on st . a rt . 1 , § 1 ) 133
            ii .   F T C Bi o met ric Co n se nt Ru le s             137
            ii i. Breac h Of I m pl ie d Co nt ract : Go od C au s e Re qu i red (Fo l ey/ Ba nko)                139
H.        IN T E N T IO NAL IN F L I CT IO N OF EM O T IO NAL D IST R ESS 14 0
V I I I. D EM AN D FO R R EL I EF              14 7
A.        S P EC I A L R EM E D IE S           15 0
            i.     Exe mp lar y a nd P u nit i ve Da ma g es         150
            ii .   Me d ic al Mo n itor in g 151
            ii i. Sp ec ia l Da m ag e s       152
            iv.    I nj u nc t i ve Rel ie f   152
IX.       PR AYE R FO R R EL I EF              15 4
X.        C ERT I FI CAT ION AN D C LOS I NG                         15 5



First Amended Complaint: Filed October 25, 2023.
Table of Contents (As Filed; Docket No. x)

I.       S UM M A RY 6
I I.     AM EN DM EN T                 7
I I I.   J U R IS D IC TI ON           8
I V.     V EN U E            10
V.       PA RT I ES          11
V I.     N OT I C E OF P EN D EN C Y & C ONF L IC T OF L AWS                         11
V I I.   FACTS & G EN ER AL A LL EGAT I ONS                         13
A.       CHRON OL O GI C AL FACTS ; BY TO P IC 14
         i.       Bac kg ro u nd o n t h e Prop ert y a n d Peo pl e I nvolve d i n T hi s Cas e (20 10 -20 15)
                  14
         ii .     G jov ik Jo in s Ap pl e ; Tea m B ul l ie s & B ri be s H er (20 15 -20 1 6 )        27
         ii i.    Th e B at ter y gate Fia sco (20 16 )             34
         iv.      G jov ik is A ssi g ne d to t h e “ TRW Mic row ave Su p er fu n d si te” Ap pl e O ff ic e o n
                  t he Tr ip le Su p er fu n d S ite (20 1 7)       37
         v.       Ap p le Forc e s Re s earc h & D evel op m e nt E m p loye es to Use Wo rk Dev ic es fo r
                  Pe rs on al Ac t iv it i e s ; App le Forc e s T he m to Part i cip ate i n M e dic al St u di e s an d
                  I nv a si ve D at a Co ll ect i o n (20 1 5 -20 21+ )    39
         v i.     Ap p le Fig ht i ng To I ncre as e T he ir E -Was te & T h re ate ni n g Fa m il i es a bo ut
                  Su p er fu n d O ff ic es (20 1 8 )      43
         v ii .   Th e B at ter y gate Fia sco , Pa rt I I (20 18 )        44
         v ii i.  Ap p le’s To p L ega l E xec ut i ves C har g ed wit h Fel on ie s ; Ad m it to “Wi ld”
                  Be hav i or (20 1 9 - 20 20 ) 47
         ix .     G jov ik ha s D isa bl i ng Sy m pto m s of Te r mi na l Il ln ess ; T h e S ecret Si lic o n
                  Fabr ic at i on P la nt A f fai r (20 19 -20 20 )        49
         x.       Th e HVAC/ S ub -S lat Ve nt Fi asc o (20 20 )           58
         xi .     “ Sk ip p in g t h e L i ne” : T he Vacc i ne Hoa rdi n g I nc id e nt (20 20 )       60
         xi i.    Th e T RW Mi c row ave S u pe rf u nd Si te D eb acl e (2 0 21)             62
         xi i i.  G jov ik Wa s Abo ut to E x po se W hat Ap pl e D i d at t he S il ico n Fa b Pla nt (Apr il
                  20 21 ) 6 7




                                      -8-
                    Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 10 of 96



First Amended Complaint: Filed October 25, 2023 (Cont.)

     xiv.         Th e No n - C on s en s ual Sexi s m Inve st i gat io n , D ox i ng , Ga g Ord ers , & Ot he r
                  Ret a l iat io n (Apr i l -J u ne 20 21 )         73
     xv.          Sc r ut i ny a n d I ssu es at 3 250 Sc ot t B lvd a nd 8 25 S tewa rt Dr ive Inte ns if y (Apr il
                  20 21 -Ju n e 20 21 )           76
     xv i .       Ap p le’s Ret a li at i on A ga i nst G jov ik I nte ns i fi e s ( May -J u ne 20 21 ) 7 9
     xv i i.      U S E PA & App l e E n gag e i n A Cover - Up ; Wo rk Tog et he r to I nt i m i date a n d
                  Mi sl e ad G JOV I K ( J u ne - July 20 21 ) 83
     xv i i i. G jov ik Fig ht s Bac k ( J uly - Au gu st 20 2 1)             88
     xi x .       Tro ub l e w it h t he U S G over n me nt Sa nct i o ns A ga in st S yri a (20 20 -20 2 1) 9 6
     x x.         U S E PA De m an d s to I ns pect G jov ik ’s Of f ice ; Ap pl e D ou bl es - Dow n o n t h e
                  C over - Up ; G jov ik De m a nd s Re for m ( Ju ly - Au gu s t 20 2 1) 98
     x xi .       Ap p le Re m ove s G j ovi k f ro m h er Of f ice a n d C oworker s i n Pre parat i o n for t h e
                  U S E PA In s pec t io n ; Ap p le P re pa re s to Fi re G jov i k (Aug ust 2 0 21 ) 111
     x xi i.      Ap p le Unl ea s he s a D ig it al & P hys ica l Ha ra ss m e nt Ca m pai g n A ga in st G j ovik to
                  De m oral iz e a nd I nt i m id ate H er (Au gu st 20 2 1)           119
     x xi ii . Ap p le P re te nd s to I nve st ig ate Gj ov ik ’s Co nc er ns ; Gj ov ik A sks to C o me B ack &
                  Ap p le Says No (Au g ust 20 21 )                 120
     x xiv. G jov ik Ac c u s es Ap pl e o f Vi ol at i n g t h e R I C O Act ; Ap pl e I nc re as es t h e D i git al
                  Ha ra ss m e nt (Au gu st 20 2 1) 122
     x xv.        G jov ik Fil e s C ha rg es / C l ai m s Ag ai n st App le wit h t h e St ate a n d Fe d era l
                  G over n m e nt (Au gu st – S ep te mb er 20 21)            12 7
     x xv i . Ap p le I nt i m i date s Gj ov i k a n d Tr ie s to Fo rce H er O nto a Web E x M eet i ng
                  ( Se p te m be r 3 20 21 ) 132
     x xv i i. G jov ik Fil e s Mo re C o mp lai nt s A ga in st Ap pl e ; C o m pl ai nt s of Ap pl e Exec u t ive s
                  Cr i m in al Co n duct ; Co m pla i nt s a bo ut Bat ter yg ate I nt i mi dat io n ( S e pte mb er 3 - 9
                  20 21 ) 13 4
     x xv i ii . Th e Day Ap pl e Fired G j ovi k ( Se p te m b er 9 20 21 ) 138
     x xi x. Ap p le I nc rea se s I nt i m id at io n a nd Ret a l iat io n ( S ep te mb er 20 21) 14 6
     x xx .       G jov ik Fil e s Mo re C har g es ; EPA A sks App l e for St at us of Cor re ct i ve Act io ns
                  at
                  G jov ik ’s Of f ic e ; Ap p le At t ac ks G jov ik a nd Li es to t he S E C (O ctob er 20 2 1)
                             161
     x xx i. Ap p le Works to C apt u re an d I n fl ue nc e G over n me nt A ge nc i es to I g no re G j ovi k
                  an d I g nore Ap pl e’s E nv i ro n me nt al / Sa fet y Vio lat io ns (Oc tob er - D ec e mb er 20 2 1)
                             163
     x xx ii . Ap p le’s H ara ss me nt o f G jov ik B ec o me s I nc re as i ng ly De ra n ge d ( S ep te mb er -
                  De c e m be r 20 21 )           16 6
     x xx ii i. Th e Gover n m e nt Re sp o nd s to G j ovi k ; S o me A g e nci e s C o mp l icit in t he C over -
                  Up ; G jov ik Esc al ate s Fu rt he r; App le B i te s B ack (D ec e mb er 20 21 - Ja nu ar y 20 2 1)
                             168
     x xx iv. Ga g O rd er s & Mi ssi n g” Doc u m e nt s” ( Fe br uar y - March 20 22 )                 17 2
     x xxv. Ap p le L i es ab out Ever yt hi n g ; App l e S m ear s Gj ovik ; Gj ov ik Wi l l Be S ent to Ja i l
                  if S h e D e fe n ds He rs e lf ( March 20 22 )             174
     x xxv i. G jov ik Di sc over s t h e Au gu st 1 9 20 21 In s pect io n (M ay 20 2 2)                190
     x xxv i i. G jov ik Di sc over s Ap ple’s Be e n H ack in g a nd Sur vei ll i ng He r Mo re T ha n S he
                  Th ou g ht ; Ap pe l Tr i es to B re ak i nto G jov ik ’s Ho m e, Aga i n ( May 2 0 22 ) 190
     x xxv i ii .            G jov ik At te m pt s to I nve st i gate W h at Hap pe n ed i n 20 21 ; Ap p le
                  I nc rea se s t h e Cover -Up ; Gj ov ik St i ll Ga gg e d ( M ay -Aug u st 20 22 ) 193
     x xx i x. G jov ik St a rt s to Rec over ; Gj ov ik D is cover s Mo re of App le’s M i sco nd uct ;
                  G jov ik Fig ht s Bac k (Au g ust 20 22 – Feb ruar y 20 2 3) 19 6




                                  -9-
                Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 11 of 96


           xl .      Ap p le a n d Orr ick Tr y to Sq ua sh a n d D e mo ral iz e G jov ik A ga i n ( Ja nuar y - Ap ri l
                     20 23 ). 20 1
           xl i.     G jov ik Di sc over s t h e Se cret Si l ico n Fa bri cat io n Pla nt ; Ap pl e co m m it s m ore
                     Fe lo ni e s (Feb ruar y 20 23 )           20 2
           xl i i.   Af ter L ear n in g ab out t h e Fac tor y an d it s Le aks/ Sp i ll s, G jov ik is Ce rt a i n Ap pl e
                     Made he r S ic k in 20 20 ; G jov ik Go e s Af ter Ap pl e ( J u ne -Au gu st 20 23 ). 20 6
           xl i ii . Ap p le Re sp on d w it h Mo re Cover - Up s & Ha ra ss m e nt ( J uly - S ep te mb er 2 0 23)
                     20 7
V I I I.   LE GA L C L AI M S              20 8
A.         S OX WH I S TL E BL OW E R R ETA L IAT I ON ( 15 U. S. C. § 15 14 A) 210
B.         DO D D FR A N K WH IS T LE BL OW E R RE TAL I ATI ON ( 15 US C §7 8 U -
           6 (H )( 1) (A) (I I I ) )       21 2
C.         B AN E C I V IL R I GHTS AC T: C A L. C IV. CO D E § 5 2. 1 213
D.         R A LP H C I V IL R I GHT S AC T: C AL. C IV. CO D E § 51. 7 21 7
E.         R AC K ET E ER IN F LU E NC E D AN D CO R RUPT ORGAN IZAT I ONS AC T (R I C O) 1 8
           U. S . C. § 19 6 2 21 9
           i.        St a nd i ng & P le ad i ng 219
           ii .      Co n duc t & Vi ol at i on s u nd er 1 8 U. S . C. § 19 62 (a) , (c) , (d ) 222
           ii i.     C re at i on , Nat ure, a n d O pe rat io n of t he E nte rpr i se 223
                           Ap p le a s a C or po rate D e fen da nt 224
                           Th e “Wor ld w id e L oyalt y Team” E nte rp ri se              224
           iv.       Pat te r n; Vert ic a l a nd Ho riz o nt a l Re lated n ess of Pre d icate Act s 225
           v.        Th e Sc h e m es 232
           v i.      Pre d ic ate Ac t s/ T hreat s I nvo lvi n g Ce rt a i n St ate Of fe ns es 235
                           Cr i m in al B ri ber y o f Exe cut i ve O ff ic er ( C al . Pen al Co de § 6 7 ) 235
                           Cr i m in al Co m m e rci al B r ib er y ( Ca l. Pe na l C od e § 6 41. 3)        237
                           Cr i m in al Ex tort io n ( C al i fo rn ia Pe na l C od e § 5 18 )       239
           v ii .    Pre d ic ate Ac t s I nd ict a bl e Un de r T it l e 18 U S Co de               243
                           Ma il Fraud & Wire Frau d (1 8 U S C od e §§ 1 341 , 1343) 243
                           Ta m pe ri n g w it h a Wit ne ss , Vict i m , or a n I n for m ant (18 U. S. Co de § 151 2 )
                           251
                           Ret a l iat in g a gai n st a Wit ne ss, Vict i m , or a n In for ma nt (18 U. S. Co d e §
                           1513 )          260
           v ii i.   Pre d ic ate Ac t s I nd ict a bl e Un de r T it l e 11 U S C ( S ecu rit i es)         265
                           S ec u rit ie s Fraud (15 U S C § 78 ) 265
           i.        Pre d ic ate Ac t s I nd ict a bl e Un de r §233 2(b)( g )( 5) ( B)             26 9
                           Re lat in g to Ch e m ica l We apo n s (1 8 U S C § 2 29 ) 26 9
           ii .      I nj ur y i n Fac t to P la i nt i f f du e to Rac ke te eri n g Ac t 27 8
           ii i.     Co nt i nu it y & T hreat to Co nt i nu e            283
F.         TORT: ULT R AH AZ A R DO U S ACT I V IT I ES                           2 83
G.         R ETA LI AT IO N U N D E R C AL I FOR NI A L A B O R C O DE 2 85
           i.        Ca li for ni a W h ist le bl owe r P ro tect i on Act : Ca l. L abor Co d e §11 0 2. 5          285
                           Vid eo Rec ordi n g i n Bat h roo m s: Ca l. L abo r C od e § 435 28 7
           ii .      Ret a l iat io n for Fi l in g a Labo r C o m pla i nt : Ca l. L abor Co d e § 98. 6 288
                           Ret a l iat io n re: Wo rk Co nd it io ns : C al . Lab or Co de §232 .5 (v ia § 98 . 6)
                                289
                           Lawf u l O ff -D ut y Co n du ct : Ca l. Lab or Co de § 9 6 (k) (vi a 98 . 6) 290
           ii i.     Ret a l iat io n for S a fet y C o mp la int s: Ca l. L abo r C od e § 6310             291
                           R ig ht - to- K n ow Ret a li at i on : C al . Lab or Co de §63 9 9. 7 (v ia § 6310 )     29 6
H.         WRON GF U L D IS CH A RG E I N V I OLAT ION OF P U BL I C P OL I C Y ( TAM NEY )
           2 98
           i.        Ta m n ey : I nv as io n o f Pri vacy ( Ca l. C on st . a rt . 1 , § 1)         302
           ii .      Ta m n ey : FT C B io m et r ic Co ns e nt Rul e s           306




                                       - 10 -
                      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 12 of 96



First Amended Complaint: Filed October 25, 2023 (Cont.)

         ii i.    Breac h Of I m pl ie d Co nt ract : Go od C au s e Re qu i red (Fo l ey/ Ba nko)               308
I.       N U IS A N C E ( C AL. C I V IL CO D E § 34 7 9 ) 310
J.       IN T E N T IO NAL IN F L I CT IO N OF EM O T IO NAL D IST R ESS 312
K.       PR ET E XT GE N ER AL LY             32 0
IX.      D EM AN D FOR R EL I E F             324
A.       S P EC I A L R EM E D IE S           32 8
         i.       Exe mp lar y a nd P u nit i ve Da ma g es   328
         ii .     Me d ic al Mo n itor in g 3 3 0
         ii i.    Sp ec ia l Da m ag e s      330
         iv.      I nj u nc t i ve Rel ie f   331
         v.       De c la rator y Re li ef & No m in al Da ma g es     332
X.       PR AYE R FO R R EL I EF              33 3
XI.      C ERT I FI CAT ION AN D C LOS I NG                   33 5



Second Amended Complaint: Filed December 21, 2023.
Table of Contents (As Filed; Docket No. x)

I.       TAB L E OF C ON T E NT S                 2
I I.     S UM M A RY 6
I I I.   J U R IS D IC TI ON            8
I V.     V EN U E              10
V.       PA RT I ES            10
V I.     N OT I C E OF P EN D EN C Y & C ONF L IC T OF L AWS                         11
V I I.   FACTS & G EN ER AL A LL EGAT I ONS                         13
         A.       BACKGRO U N D ON K EY LO CAT I ONS AN D PE O PL E 13
         i.       Ro nal d Su gar, Ap pl e Bo ard Me m be r ; ex -TRW Execut i ve ; ex - No rt hrop
                  Gr u m ma n CE O                14
         ii .     Th e Tri pl e Su pe rf u nd Si te & TRW Mic row ave Su pe rf u nd s i te s at 82 5 S tewa rt
                  Dr i ve , S u n ny v a le Ca li fo rn ia 17
         ii i.    Li sa J ac kso n, App le Vic e Pres i de nt o f G ove rn m e nt A f fai rs a n d Lob by in g ; ex -
                  US
                  E PA Ad m in i st rator         31
         iv.      Ap p le’s S ec ret S e mic on duc to r Fa bri cat io n at 32 50 Scot t Blvd, Sa nt a Cl a ra
                  Ca li for ni a        32
         v.       Ap p le’s Per so na l D at a C ol lect io n a nd Sur ve il la n ce of E mp loye es (Pa n opt ico n)
                  34
         B.       AS HLEY’ S A PP L E S AGA 37
         i.       G jov ik Jo in s Ap pl e ; Tea m B ul l ie s & B ri be s H er ; G jov ik is Ret a li ate d A ga in st
                  fo r t r y i ng to I nve st i gate Bat ter y gate (20 15 -20 16 ) 3 7
         ii .     G jov ik is A ssi g ne d to Work at a n Ap pl e o ff ic e o n t h e “ Tr i pl e S u pe rf u nd Si te” ;
                  Ap p le I nv ade s Gj ov ik ’s Priv acy & Fi g ht s to Inc rea se e -Wa s te (20 1 7)           52
         ii i.    Ap p le’s To p L ega l E xec ut i ves C har g ed wit h Fel on ie s ; Ad m it to “Wi ld”
                  Be hav i or ; G j ov i k Fa i nt s (20 19 -20 20 )        62
         iv.      G jov ik ha s D isa bl i ng Sy m pto m s of Te r mi na l Il ln ess ; T h e S ecret Si lic o n
                  Fabr ic at i on P la nt A f fai r (20 19 -20 20 )         67
         v.       “ Sk ip p in g t h e L i ne” : T he Vacc i ne Hoa rdi n g I nc id e nt (20 20 )        78
         v i.     Th e T RW Mi c row ave S u pe rf u nd Si te D eb acl e (2 0 21)             81




                                     - 11 -
                    Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 13 of 96



Second Amended Complaint: Filed December 21, 2023 (Cont.)

         v ii .     G jov ik Wa s Abo ut to E x po se W hat Ap pl e D i d at t he S il ico n Fa b Pla nt (Apr il
                    20 21 ) 90
          v ii i.   Sc r ut i ny a n d I ssu es at 3 250 Sc ot t B lvd a nd 8 25 S tewa rt Dr ive Inte ns if y (Apr il
                    20 21 -Ju n e 20 21 )            10 1
          ix .      Ap p le’s Ret a li at i on A ga i nst G jov ik I nte ns i fi e s ( May -J u ne 20 21 ) 10 7
          x.        Tro ub l e w it h t he U S G over n me nt Sa nct i o ns A ga in st S yri a (20 20 -21 )         129
          xi .      U S E PA De m an d s to I ns pect G jov ik ’s Of f ice ; Ap pl e D ou bl es - Dow n o n t h e
                    C over - Up ; G jov ik De m a nd s Re for m ( Ju ly - Au gu s t 20 2 1) 131
          xi i.     Ap p le Tor m e nt s Gj ov ik ; U S EPA I n sp ect io n! Ap pl e Pre pare s to Fire Gj ovik
                    (Aug ust 2 0 21 ) 151
          xi i i.   Ap p le I nt i m i date s & T hreaten s G j ovi k ; Tr ie s to Forc e H er onto a Web E x
                    Me et in g ( S ep te mb er 3 2 0 21) 20 2
          xiv.      Th e Day Ap pl e Fired G j ovi k ( Se p te m b er 9 20 21 ) 212
          xv.       Ap p le I nc rea se s I nt i m id at io n a nd Ret a l iat io n ( S ep te mb er 20 21) 224
          xv i .    G jov ik Fil e s Mo re C har g es : E PA As ks Ap pl e for St at us of Cor re ct i ve Act io ns at
                    G jov ik ’s Of f ic e ; Ap p le At t ac ks G jov ik a nd Li es to t he S E C (O ctob er 20 2 1)
                                24 6
          xv i i.   Ga g O rd er s & Mi ssi n g” Doc u m e nt s” ( Fe br uar y - March 20 22 )             270
          xv i i i. Ap p le L i es ab out Ever yt hi n g ; App l e S m ear s Gj ovik ; Gj ov ik Wi l l Be S ent to Ja i l
                    if S h e D e fe n ds He rs e lf ( March 20 22 )               274
          xi x .    G jov ik Di sc over s t h e Au gu st 1 9 20 21 In s pect io n (M ay 20 2 2)            289
          x x.      G jov ik Di sc over s t h e Se cret Si l ico n Fa bri cat io n Pla nt ; Ap pl e Co m m it s Mo re
                    Fe lo ni e s (Feb ruar y 20 23 )           311
          x xi .    Af ter L ear n in g ab out t h e Fac tor y an d it s Le aks/ Sp i ll s, G jov ik is Ce rt a i n Ap pl e
                    Made he r S ic k in 20 20 ; G jov ik Go e s Af ter Ap pl e ( J u ne -Au gu st 20 23 ). 325
V I I I. LE GA L C L AI M S                32 9
A.        S E C UR I T IE S F R AUD W HI STL E BL OW E R R E TAL IAT I ON                           33 2
          i.        Sar ba ne s -O xl ey ( SO X) W hi st le bl ower Ret a li at i on (18 U. S. C . § 15 14A)        333
          ii .      Do dd Fra nk W hi st l eb l owe r Ret al iat io n (1 5 U S C § 7 8u -6 ( h) (1 )(A)( i ii ))    336
          ii i.     Di sc lo su re Co nt ro ls a n d Proc ed ure s ( SO X a nd D od d Fra nk)              339
                           E mp l oye e R i sk D i scl os u re s         342
                           E nv i ro n m e nt a l & Sa fet y R is k D isc lo su res         344
                           Wire Fraud , M ai l Frau d , Sh areh ol d er Fraud , Co mm u nic at i o ns ( S O X a n d
                           Do dd Fra nk)             352
          iv.       Co n fl ic t s of I ntere st ( S OX & D od d Frank) 353
                           “ C on f lic t o f I nte res t” G en e ral ly 360
                           I nte re s te d Pa rt y Tra n sac t io ns ( Ca l. Cor p s. Co de § 310 )        361
                           Re lated Part y Tra n sact io n               362
                           Rea l E st ate S et t le m e nt Proc e du re s Act (R E S PA)            364
          v.        OFAC Sa nc t io n s ( Do dd - Fra nk ; 22 U. S. C od e § 8 7 92 )               365
          v i.      Sk ip p in g t h e L in e & Vac cin e Hoa rd i ng (D od d - Frank ; US DO J N CD F )            368
B.        B AN E A N D R A LP H C I V IL R I GHTS ACTS (C AL. C IV. CO D E § 5 2. 1, §5 2. 7)
          37 0
          i.        Ban e Civ i l R i g ht s Act ( Ca l. C iv. Co de § 52 .1)               37 1
          ii .      Ral ph C iv i l R i g ht s Act ( Ca l. C iv. Co de §51 . 7)             383
          ii i.     Ac t s o f Vio l en ce a nd T h re at s o f Vio l enc e ( Ba ne § 52 .1 & R al ph § 52 . 7) 387
          iv.       I nt i m i dat io n & Co e rci on ( Ba ne , § 5 2.1 )         393
C.        R AC K ET E ER IN F LU E NC E D AN D CO R RUPT ORGAN IZAT I ONS AC T (R I C O) 1 8
U. S . C. § 19 6 2.             394




                                     - 12 -
                    Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 14 of 96



Second Amended Complaint: Filed December 21, 2023 (Cont.)

     i.      St a nd i ng & P le ad i ng 395
     ii .    Co n duc t & Vi ol at i on s u nd er 1 8 U. S . C. § 19 62 (a) , (c) , (d ) 39 7
     ii i.   C re at i on , Nat ure, a n d O pe rat io n of t he E nte rpr i se 39 9
     iv.     Pat te r n; Vert ic a l a nd Ho riz o nt a l Re lated n ess of Pre d icate Act s        40 3
     v.      Th e Sc h e m es 412
     v i.    Pre d ic ate Ac t s/ T hreat s I nvo lvi n g Ce rt a i n St ate Of fe ns es 418
                   Cr i m in al B ri ber y o f Exe cut i ve O ff ic er ( C al . Pen al Co de § 6 7 ) 418
                   Cr i m in al Co m m e rci al B r ib er y ( Ca l. Pe na l C od e § 6 41. 3)        421
                   Cr i m in al Ex tort io n ( C al i fo rn ia Pe na l C od e § 5 18 )       422
     v ii .  Pre d ic ate Ac t s I nd ict a bl e Un de r T it l e 18 U S Co de               426
     v ii i. Ma il Fraud & Wire Frau d (1 8 U S C od e §§ 1 341 , 1343)                      42 7
                   Frau d: E nv i ro n me nt al a nd Sa fet y Pract ic e s         428
                   Frau d: Pr iv acy          438
                   Frau d: Co m pl ia nc e an d Et hic s 443
     i.      Ta m pe ri n g w it h a Wit ne ss , Vict i m , or a n I n for m ant (18 U. S. Co de § 151 2 )
             448
                   Use of Fo rc e or t h e T h reat o f t h e Us e of Forc e to P reve nt t he P ro duct io n
                   of Ev i d enc e            450
                   Use of D ec ept io n or C or ru pt i on o r I nt i mi dat io n to P reve nt t h e Prod uct io n
                   of Ev i d enc e            454
                   De st r uc t io n or Co nc ea l m e nt of Ev id e nce or At te mpt s to D o S o           460
                   Wit ne ss Ha ra ss m e nt to Preve nt t h e P ro duct io n of Evi d enc e 462
     ii .    Ret a l iat in g a gai n st a Wit ne ss, Vict i m , or a n In for ma nt (18 U. S. Co d e § 15 13)
             46 9
                   Ret a l iat io n an d Co ns p iracy to Ret al iate Ag ai n st Wit ne ss for Prov id i ng
                   Test i m ony a n d Evi d enc e 47 2
                   Ret a l iat io n & Co n sp iracy to Ret a li ate A ga in st Wit n e ss fo r Re po rt in g
                   Fe de ra l O ffe ns e s 475
     ii i.   Pre d ic ate Ac t s I nd ict a bl e Un de r T it l e 11 U S C ( S ecu rit i es)         475
                   S ec u rit ie s Fraud (15 U S C § 78 ) 475
     i.      Pre d ic ate Ac t s I nd ict a bl e Un de r §233 2(b)( g )( 5) ( B)             47 7
                   Re lat in g to Ch e m ica l We apo n s (1 8 U S C § 2 29 ) 47 7
     ii .    I nj ur y i n Fac t to P la i nt i f f du e to Rac ke te eri n g Ac t 488
     ii i.   Co nt i nu it y & T hreat to Co nt i nu e          492
D.   TORT: ULT R AH AZ A R DO U S / A BN O RM AL LY DAN G ERO U S ACT I V IT I ES
     49 2
     i.      Si l ic o n Fa br ic at io n Next to H o me s 49 6
     ii .    Su p er fu n d S ite M e ga -Pl u me s w it h C o mp l ete Pat hways for Vapor I nt r us io n
             50 2
E.   R ETA LI AT IO N U N D E R C AL I FOR NI A L A B O R C O DE 50 7
     i.      Ca li for ni a W h ist le bl owe r P ro tect i on Act : Ca l. L abor Co d e §11 0 2. 5          50 8
                   §110 2.5 : Re po rt i ng Unl awf u l Lab or /E m p loy m e nt Co nd uct           50 9
                   §110 2.5 : Re po rt i ng E nvi ro n me nt al & S afet y Vi ol at io n s 511
                   §110 2.5 : Re f us al to Pa rt i cip ate i n Unl aw f ul Co n d uct 515
     ii .    Ret a l iat io n for Fi l in g a Labo r C o m pla i nt : Ca l. L abor Co d e § 98. 6.           521
                   Fil i ng a L abo r C o mp la i nt : § 9 8. 6 522
                   §9 8. 6: Ret a li at i o n re : Wag es : C al . Lab or Co de § 232        523
                   §9 8. 6: Ret a li at i o n re : Work Co n dit io ns : Cal . Lab or C od e § 232 .5        523
                   §9 8. 6: L awf u l Of f -D ut y Co n duct : Cal . Lab or Co de § 9 6 (k)          526
     ii i.   Ret a l iat io n for S a fet y C o mp la int s: Ca l. L abo r C od e § 6310             529




                                - 13 -
               Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 15 of 96



Second Amended Complaint: Filed December 21, 2023 (Cont.)

                     § 63 10 : E m p loyee E xp os ure to C h e mic al s [ Ca l.L ab. C. §§ 63 9 8, 640 0 -6 40 5,
                     640 8; 8 Ca l. C od e. Reg . § 340 .2 ; 2 9 C FR Z ; OS H Act § 1 910 .10 20 ]                531
                     §63 10 : COVI D -1 9 Sa fet y & C o mm un icat io n [ Ca l. Labo r. C . §§ 6325 ; 640 9. 6,
                     643 2]           537
                     §63 10 : Wil d fi re S mo ke [ Ca l. C .Reg . T it l e 8, § 5141.1 ] 537
                     §63 10 : In j ur y Rep ort i ng [8 C al . C.Re g. § 1430 0 ]                539
                     §63 10 : Ret a li at i o n fo r C o mp la in i ng a bo ut e -Was te Vio lat io n s 540
                     §63 10 : R ig ht -to- K now Ret a li at i on [ Ca l. Lab or C od e § 63 99 . 7] 541
                     §63 10 : P ro po sit io n 6 5 [ Ca l. Co d e of Reg . §5 1 94 (b) ( 6) ] 541
                     §63 10 : Fed eral Envi ro n m e nt a l St at u te s 543
                     §63 10 : Wo rk pl ace Vio le nc e [ C al .La b. C . §§ 6 40 1 .7, 6 40 1. 9]        545
                     63 10 : Un fa ir B us i ne ss Pract ic es & Fa l se Ad vert i s in g [ Ca l. B us . & P rof.
                     Co d e §§ 1 720 0 , 1750 0 ] 548
F.   WRON GF U L D IS CH A RG E I N V I OLAT ION OF P U BL I C P OL I C Y ( TAM NEY )
     54 9
     i.        Ta m n ey : Rep o rt i n g Al l e gat io ns of Cri m i na l C o n duct to Ap pl e , Law
     E nforc e m e nt , a n d D ist r i ct At tor n eys             551
     ii .      Ta m n ey : Rep o rt i n g Al l e gat io ns of Un law fu l Act s to St ate a nd Fe de ra l
     Ag e nc i e s; Te st i f y i n g Ab out E m p loyer            553
     ii i.     Ta m n ey : Test if y i ng to A ge ncy a n d/o r L eg is lat i ve Co m m it te e          554
     iv.       Ta m n ey : Di sc r i mi n at i on , Ha ra ss m e nt , an d Ret al i at io n d u e to Sex an d
               Di sa bi lit y
               ( Ca l. F E HA ; Ca li for ni a Co n st it ut io n, A rt icl e I, S ect i on 8 ; T it le VI I / EE O C) 555
     v.        Ta m n ey : Vic t i m o f C ri m e ; App le’s Co nc ea l me nt 558
     v i.      Ta m n ey : I nv as io n o f Pri vacy ( Ca l. C on st . a rt . 1 , § 1)           559
     v ii .    Ta m n ey : Ca li fo r nia P riv acy R i g ht s Act           564
     v ii i.   Th e I nter nat io na l Cove n ant o n Civ i l a n d Po l it ic a l R i g ht s ( O H C HR ) : A rt i cle
               V II , Fre e C o ns e nt        56 6
     ix .      Ta m n ey : FT C Act Bi o m et r ic C o ns e nt Ru l es ; Ca l . Bi z. & P ro . C od e §§ 17 20 0 ;
               Bio m et ric Pr iv acy G u id e Post s               570
     x.        Ta m n ey : P ro te st s a bo ut Mi su s e of ADA Proce d u re s an d M e dic al Cl i nic s ;
               Pro test o f E m pl oye e H e alt h Dat a C ol l ect i on               576
     xi .      Fol ey/Ba n ko : Breac h o f I m pl ie d Co nt ract : Go od C au se Re qu ire d 57 8
G.   N U IS A N C E 5 81
     i.        Nu is anc e ( C al . C iv il Co de § 3 4 79 ) 581
     ii .      Fac to ri es , H aza rd ou s Was te , & Ai r Po ll ut io n              583
     ii i.     Nu is anc e Per S e / Abs ol ute N ui sa nc e                 586
     iv.       Co nt i nu i ng Nu is an ce 58 7
     v.        E nforc e m e nt 588
H.   IN F L IC T ION OF E M O TI O NA L D IS TR ES S                         588
     i.        Ret a l iat io n & I nter ro gat i on 589
     ii .      Bur g lar y, S ur ve il la nc e, Th reat s, a nd St a lk in g           593
     ii i.     Fal s e Po li c e Re po rt s 594
     iv.       Sur ve il la nc e / G obb l in g          595
     v.        E xp os ure & C onc ea l m e nt           59 6
     v i.      Fea r of Ca nc e r              59 7
     v ii .    De ra n ge d G ag -O rde r 598
     v ii i.   G jov ik ’s I nj ur i es        60 0
     ix .      Eg g sh e ll / Ta rg et         60 3
I.   ADV E RS E/ N E GAT I V E EV ENT S G EN E R A LLY 60 4
     i.        20 21 -0 1 H ost il e Wo rk E nv iron m e nt 60 5




                                 - 14 -
                Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 16 of 96



Second Amended Complaint: Filed December 21, 2023 (Cont.)

          ii .    20 21 -4: Co n st r uct i ve D i sch ar ge             60 6
          ii i.   20 21 -0 7: I nc re as e i n Un favorab le Wo rk / Rea ssi g n m ent / Fa ke I nve st ig at i on s /
                  Mi sl e ad in g St ate m e nt s             60 9
          iv.     20 21 -0 8: “ Re m ove d f ro m t he Wo rk pl ace a n d al l Work pl ac e I nte ract io n s" 610
          v.      20 21 -0 9 -0 9: I nter ro gat io n         614
          v i.    20 21 -0 9 -0 9 Te r mi nat io n            618
          v ii .  20 21 -20 23 : D ig it a l T hre at s & Ha ra ss m e nt 618
          v ii i. 20 21 -20 23 : C owor ker H ara ss m e nt ; Ret a li ator y L aws uit s & Po lic e Rep o rt s
                  61 9
J.        R ETA LI AT IO N P R ET EX T G EN E R A LLY 6 22
          i.      Rea so na bl e ne ss & Cre di bi lit y                 623
          ii .    Te m poral P rox i mit y 625
          ii i.   Th e re is No D e fen s e of I gn ora nc e 625
          iv.     Po st Ho c R at i o nal iz at i o ns        628
          v.      S hi ft i n g E x pla n at i on s 630
          v i.    Ev i de nc e of Forb id d en An im us                  631
          v ii .  Unl awf u l C or porate I nte rro gat io n o f E m pl oye e W hi st le bl ower ( Cot ran) 632
          v ii i. “ Fai l ure to Pa rt i ci pate i n I nvest i gat io n”      634
          ix .    Arb it rar y an d Capri ci ou s ; App le’s Act i on s w it h G jov ik we re Co nt rar y to
                  Co rp orate Pol ic ie s a nd I nte rest s              635
          x.      Ap p le St a lks an d S ur vei l s any P ub l ic C o m m ent ar y ab out t he C o mpa ny     638
          xi .    Gre at Pe r for m an ce & No D i sci pl i ne P ri or to Co m pla i nt s 63 9
          xi i.   Ap p le’s Co nc eal m e nt of W hat t hey di d to G j ovi k. 63 9
          xi i i. Far fetc h ed a n d I ll og ica l Na rrat i ves 641
IX.       D EM AN D FOR R EL I E F                   64 7
          A.      S P EC I A L R EM E D IE S                  6 51
                  i.          Exe mp lar y/Pu n it i ve D a ma g es           651
                  ii .        Me d ic al Mo n itor in g 653
                  ii i.       Sp ec ia l Da m ag e s          654
                  iv.         I nj u nc t i ve Rel ie f       655
                  v.          Phy s ic a l I n jur i es a n d S ic kn e ss    65 6
                  v i.        De c la rator y Re li ef & No m in al Da ma g es      65 7
X.        PR AYE R FO R R EL I EF                    658
XI.       C ERT I FI CAT ION AN D C LOS I NG                             6 60
XI I.     A PP EN D IX I: S UM M A RY OF PART IE S / PL AC ES                       6 61
XI I I.   A PP EN D IX I I I: S UM M A RY OF FA LS E STAT EM ENT S 6 64




                                     - 15 -
                    Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 17 of 96



Third Amended Complaint: Filed February 27, 2024.
Table of Contents (As Filed; Docket No. x)

I.       J U R IS D IC TI ON & V E NU E 2
I I.     PA RT I ES         2
I I I.   N OT I C E OF P EN D EN C Y & C ONF L IC T OF L AWS                         3
I V.     S TAT EM EN T OF FAC TS 4
         i.       G jov ik ’s E m pl oy m ent at Ap pl e            4
         ii .     Ap p le’s S ec ret S e mic on duc to r Fa bri cat io n at 32 50 Scot t Blvd (“Ar i a”) 7
         ii i.    G jov ik ’s Of f ic e at T he TRW M icrowave S up er f un d S i te 11
         iv.      G jov ik ’s 2 0 21 Co m pl ai nt s an d D is cl os ures 20
         v.       Ap p le Dec i de s to I nvest i gate G jovik I ns tead of H er Co nc er ns .          26
         v i.     Th reat s, I nt i m id at i o n, C oe rci on , H ara ss m ent      29
V.       CAU S E S OF ACT IO N & L EGAL C L A IM S                            30
         FI RS T CAU S E OF AC TI ON : R I C O                      30
                  i.        Ap p le a s t h e E nter pri s e - as- Per so n w ho L aun d ers M o ney 3 1
                  ii .      Th e Wo rl d wi de Loya lt y Assoc iat io n -i n- Fact E nter pr is e       32
                  ii i.     Ap p le & t h e R I CO Co n s pi racy             33
                  iv.       Re lated n ess, Pat ter n, Sc he m e              33
                  v.        Pre d ic ate Act 1: Cr i m in a l Br ib er y of Exec ut ive O ff ic er ( C al . Pen al Co de
                            § 67) 35
                  v i.      Pre d ic ate Act 2: Ta m pe r in g w it h a Wit n ess , Vict i m, o r an I nfor m ant (18
                            U. S. Co d e § 15 12 )        35
                  v ii .    Pre d ic ate Act 3: Ret a li at in g a gai n st a Wit n ess , Vict i m , or a n In for ma nt
                            (18 U. S. Co d e § 15 13) 3 9
                  v ii i.   Pre d ic ate Act 4: NM P- Wire Fraud (18 US C od e § 13 43 ) 3 9
                  ix .      Pre d ic ate Act 5: “ Ze ro Wa s te” - Wi re Frau d (18 U S Co d e § 1343 ) 40
                  x.        Pre d ic ate Act 6 : E -Wa ste - Wi re Frau d (1 8 U S C od e § 134 3)                41
                  xi .      Pre d ic ate Act 7: “ Gree n” E ne rg y – Wi re Frau d ( 18 U S C od e § 1 343 )
                            43
                  xi i.     Pre d ic ate Act 8: Co m p li anc e – Wire Fraud ( 18 U S Co de § 1343 ) 44
                  xi i i.   Pre d ic ate Act 9 : App l e/ Levof f -- Sec ur it ie s Frau d (1 5 U S C § 78 ) & Wire
                            Frau d 44
                  xiv.      Pre d ic ate Act 10 : Re lat i ng to C he m ica l We ap o ns [1 8 U S C § 22 9 ;
                            §23 3 2 (b)( g) (5 ) (B )]    45
         S E CO N D CAU S E OF ACT IO N                   46
                  (Vio lati o n o f Sarb an es - Oxley W his tl ebl ower P rotect ion)
         TH IR D CAUS E OF AC TI ON                       48
                  (Vio lati o n o f Do dd - Fra n k W his tl eb lowe r Pro te ction)
         FO U RTH C AUS E OF ACT IO N                     48
                  (C rea tio n & M ai nte nan ce o f a Priv ate Nui san c e ; N uis anc e Per S e ; Ab solute
                  N uisa nc e)
                  xv.       Pa rt A. – Nu i sa nce at 32 50 Scot t Blvd, Sa nt a Cl a ra 50
                  xv i .    Pa rt B. – N ui sa nc e at 825 Stewa rt D ri ve, Su n nyva le               50
         FIF TH C AUS E O F AC TI ON                      51
                  (S t ric t Lia b ilit y for Ult raha zardo us / Ab nor ma lly Da ng e ro us Activ iti e s)
                  xv i i.   Pa rt A. – Ult ra ha zardo u s Act ivit i es at 32 50 Sc ot t B lvd , S a nt a C la ra
                            51
                  xv i i i. Pa rt B. – Ult ra ha zardo us Act iv it i e s at 825 S tewa r t D ri ve, S un nyv al e
                            52
         S I XTH CAU S E OF AC TI ON                      52
                  (Vio lati o n o f t he Ba n e Civ i l Ri ghts Act - Cal. Civ. Co d e § 5 2. 1
         S EVE N TH CAU S E OF ACT I ON 5 5




                                    - 16 -
                   Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 18 of 96


                 (Vio lati o n o f t he Ral p h C iv il Rig ht s A ct - Cal. C iv. Co d e § 51. 7
         E I GHT H C AUS E OF ACT IO N                   57
                 (Vio lati o n o f t he Cali fo rnia W his tl eb lower Pro tec tio n A ct - Cal. Labo r
                 Co d e § 11 02. 5 )
         N IN TH C AUS E O F AC TI ON                    59
                 (Vio lati o n o f Cal. Labo r Cod e § 98. 6 inc lu di ng § 9 6k , 2 32, a nd 23 2. 5)
         TEN TH C AUS E O F ACT IO N                     60
                 (Vio lati o n o f Cal. Labo r Cod e § 631 0
         EL EV EN TH C AUS E O F ACT I ON 6 2
                 (Wro ngf ul D isc har ge i n Vio lati on o f P ubli c Pol icy - Ta m n ey )
                 xi x .    Pa rt A. Dat a Co l lect io n fo r A I D eve lo p m e nt              62
                 x x.      Pa rt B. Rep o rt i n g C ri m e       63
                 x xi .    Pa rt C . E m pl oy m e nt D is cri m in at i o n & Ret a li at i o n 64
                 x xi i.   Pa rt E. Vict i m /Wit ne ss Di scr i m in at i o n        64
         TW E LFT H C AUS E OF ACT IO N 6 5
                 (B reac h o f Im pli e d Co ntrac t & Breac h o f Cove na nt o f Goo d Fait h an d Fair
                 D ea li ng )
         TH IRT E EN TH C AUS E O F ACT I ON                      66
                 ( Intentio na l In flic tio n of E moti ona l Di st re ss)
         FO U RT E EN T H C AUS E OF ACT I ON                     70
                 (N eg lig e nt I nflic tio n of Emot iona l Di st ress / Ne gli ge nc e)
         FIF T EE N TH CAU S E OF AC T ION                        70
                 (Vio lati o n o f Cal. Bu s. & Prof. Co d e § 17 20 0, e t s eq ) 1
                 x xi ii . Pa rt A. – Un fa ir a nd Un et h ica l Us e of E m pl oye e B io m et r ic D at a
                           Co l lec t io n for Co m m e rc ial P ro f it (“ T h e Fac e G o bbl er ”) 70
                 x xiv. Pa rt B. – Un fa ir a nd Un et h ica l Us e of E m pl oye e s for M ed ica l a nd
                           I nv a si ve Us er St u di e s to Gat he r D at a for P ro duc t D evel op m e nt 7 1
                 x xv.     Pa rt C . – Un fair a n d Un et h ica l Us e of C o mpa ny Me d ical Doc tors 72
V I.     PR AYE R FO R R EL I EF               73
V I I.   C ERT I FI CAT ION AN D C LOS I NG                       75




         1
             T h e S AC § 1 7 20 0 c la i m s we re prev io us ly ne s te d u n de r § 6 310 a nd Ta mne y c la i ms .



                                       - 17 -
                      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 19 of 96



Fourth Amended Complaint: Filed June 18, 2024.
Table of Contents (As Filed; Docket No. x)

I.         S UM M A RY OF T HE C AS E 2
I I.       PRO C E D UR AL H I S TO RY 3
I I I.     J U R IS D IC TI ON & V E NU E 4
I V.       PA RT I ES           4
V.         N OT I C E OF P EN D EN C Y & C ONF L IC T OF L AWS                            5
V I.       S TAT EM EN T OF FAC TS 6
                G jov ik ’s E m pl oy m ent at Ap pl e 7
                Ap p le’s S ec ret S e mic on duc to r Fa bri cat io n            10
                Th e Se p te m be r 20 20 E m ail             15
                Th e T RW Mi c row ave S u pe rf u nd Si te            15
                Th e M arc h 20 2 1 E ma i l 18
                Th e Crac ke d S lab 23
                Re m ove d f ro m t he Work pl ace            28
                Work pl ac e Vio l enc e d          37
                Th reat s, I nt i m id at i o n, C oe rci on , H ara ss m ent 41
                Su rp ri s e S e mic o nd uc tor Fabr ic at i on       44
V I I.     LE GA L C L AI M S            45
                Co u nt On e: Wro ngf ul Dis cha rg e i n Violatio n of P ubl ic Po licy                  45
                    Il l eg al Dat a Har ve st in g [C al . C on st . Art ic le I, ; F T C Act] 45
                    E mp l oy me nt Di scr i m in at io n [ Ca l. D F E H ; U. S . E EO C ]        47
                    Cr i m e Vic t i m/ Wit n ess Di scr i m in at i o n [ C al . La bor C . § 230 (e)]   47
                    Le gi s lat ive Wit n e ss Di sc ri m in at i o n [ C al . G ov. C od e § 94 14]      48
                Co u nt Two : Ca lifo rn ia W his tl ebl ower Prote cti on Act                     48
                Co u nt T h re e: Ca l. La b or Cod e § 631 0 51
                Co u nt Fo ur: Ca l. Labo r Co d e § 6 3 9 9. 7 5 2
                Co u nt Fi ve: Ca l. Labor Co d e § 9 8. 6             53
                Co u nt S ix : Ca l. L abor Cod e §§ 23 2, 2 3 2. 5               54
                Co u nt S e ve n: Ca l. Lab or Cod e § 9 6( k)                    55
                Co u nt Ei ght: Co ve na nt of Good Fai th a nd Fair D eali ng                     56
                Co u nt N in e: Ca l. Unfai r Com p eti tio n Law                 57
                Co u nt Te n: I I E D – O ut rag eo us Co nd uct                  61
                Co u nt Ele ve n: Pr iv ate Nuisa nc e                 65
                Co u nt Twelve: Ult ra ha zardous Ac tiv i ti es                  67
                Co u nt T hi rte e n: I I E D – Fea r of Ca nc er                 69
V I I I.   PR AYE R FO R R EL I EF                  72
IX.        C ERT I FI CAT ION AN D C LOS I NG                          74




                                       - 18 -
                      Declaration & Exhibits | 3:23-CV-04597-EMC
     Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 20 of 96




Exhibit C: Complaint Index


Original Complaint: Filed Sept. 7, 2023.
Post Hoc, Draft Index

                                                       ammunition                                  11
     ‘extreme condition leave’                    21   anatomical measurements                    152
     ‘vacuum filters with glass shards’           29   animus                              25, 53, 61
     “Apple Cares about Privacy, Unless You Work       annual performance review                   56
        at Apple.”                                39   anxiety                            24, 27, 150
     “Make Ashley’s Life a Living Hell.” 10, 14        Apple “decided” employees did not have a
     “the toxic nightmare that is Stewart 1”      24      right to know                            26
     “violations of Right to Know & OSHA.” 39          Apple was attempting to cover-up the safety
     1,1,1-TCA                                   129      issues                                   37
     1,1-Dichloroethane                          129   Apple was misrepresenting their policies
     1,1-Dichloroethene                          129      and protocols                            35
     1,2,3,5-Perchloroethylene                   129   Apple was negligent at her office           35
     1,2-Dichlorobenzene                         129   Apple’s felonious impersonation of law
     1,2-Dichloroethylene                        129      enforcement                              41
     1,2-trans-Dichloroethylene                  129   arsine                           112, 114, 145
     15 U.S.C. § 1514A                            50   assignment of unfavorable projects          56
     15 U.S.C.A. § 78u-6                          56   bad faith                              15, 139
     15 USC 78 (Securities Fraud)                 63   bathroom                         122, 135, 143
     18 U.S. Code § 1962                          64   Bhopal                                     113
     18 U.S.C. § 1341                             88   biometrics             134, 135, 136, 138, 152
     18 U.S.C. § 1503                             88   BIPA                                       138
     18 U.S.C. § 1512                             88   birth defects & miscarriages                25
     18 U.S.C. § 1951                             88   Bloomberg                           17, 39, 42
     18 U.S.C. § 229F(7)                         111   break-ins                         58, 142, 145
     18 U.S.C. § 3771                            154   broken glass                               142
     18 U.S.C.A. §§ 1961 et seq.                  67   Brownfield                              21, 30
     18 USC § 229                          130, 142    Business Conduct                   18, 38, 139
     18 USC 1512, 1513                            63   Cal. Bus. & Prof. Code § 17200        133, 153
     18 USC 229                          63, 64, 115   Cal. Civ. Code § 1708.8(a), (b), (d)       135
     22 CCR Section 12000                        129   Cal. Civil Code § 1471                      26
     34 U.S.C. § 20141(e)(2)                     154   Cal. Civil Code § 3294(a)                  151
     3D scan their ears and ear canals           136   Cal. Code Civ. Proc. § 335.1               133
     AC Wellness                              24, 27   Cal. Code of Reg. §5194(b)(6).             129
     air pollution                                21   Cal. Code Reg. Title 8 §5194               130
     air testing                                 129   Cal. Code Reg. § 5194(b)(6)                129
     ambient air                              23, 33   Cal. Code Reg. § 5194(b)(6).               129


                                       - 19 -
                      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 21 of 96


Cal. Code Reg. Title 8 § 5194            129   California Penal Code § 641.3(a)            84
CAL. CONST. ART. 1, § 1           6, 58, 133   California Penal Code § 67                  80
Cal. Gov't Code § 12964.5(a).             36   California Unfair Competition Law          140
Cal. Lab. Code § 1019(b)(C), (D           31   CalOES                                      20
Cal. Lab. Code § 1104                     49   cameras in bathrooms                       143
Cal. Lab. Code § 230                      27   cancer                          24, 25, 32, 36
Cal. Lab. Code § 2802                    149   carcinogenic chemicals                     145
Cal. Lab. Code § 640                     126   catastrophic gas leak                      113
Cal. Lab. Code § 6403                    126   CERCLA                      8, 23, 25, 48, 129
Cal. Lab. Code § 6406                     29   chemical                                   148
Cal. Lab. Code §§ 6325, 6409.             31   chemical clean-up sites                     34
Cal. Lab.C § 435                         135   chemical emissions and exposure            130
Cal. Lab.C § 98.6                   123, 149   chemical exposure                       28, 36
Cal. Lab.C. § 1102.5 121, 122, 130, 133, 149   chemical/gas emissions                      21
Cal. Lab.C. § 1102.5(b)                  121   chemicals emitted into the environment 129
Cal. Lab.C. § 1102.5(f)                  149   Chemicals of Mass Effect                   112
Cal. Lab.C. § 232.5                 123, 124   chemotherapy                                24
Cal. Lab.C. § 435              122, 131, 135   Chlorine                                   113
Cal. Lab.C. § 6310        125, 128, 130, 149   chloroform                              26, 28
Cal. Lab.C. § 6310(b)                    125   city Fire Department                        20
Cal. Lab.C. § 6360-6399.7                130   civil rights                                58
Cal. Lab.C. § 6398(a)                    126   Clean Air Act                           5, 128
Cal. Lab.C. § 6398(b)                    127   coercion                               57, 137
Cal. Lab.C. § 6399                       128   coercive and unlawful data collection of
Cal. Lab.C. § 6399.7                     128      biometric, genetic, anatomical, and
Cal. Lab.C. § 6400                       130      surveillance data                       131
Cal. Lab.C. § 6400(a)                    127   collect data                               134
Cal. Lab.C. § 6402                       127   compensation                               137
Cal. Lab.C. § 6404, 6405                 127   complaints about a “cover-up”               62
Cal. Lab.C. § 96(k)                 124, 125   confidential          19, 22, 43, 48, 136, 138
Cal. Lab.C. § 98.6        123, 124, 125, 149   conscious disregard of her rights 150, 151
Cal. Lab.C. §142.3                       126   consent               131, 135, 136, 137, 138
Cal. Lab.C. §6360-6399.7                 129   conspiracy                              36, 62
Cal. Lab.C. §6408(c).                    126   conspiracy to conceal                       54
Cal. Lab.C. §6408(d)                     126   conspired to conceal the issue from
Cal. Labor Code §§ 6101, 6046             58      regulators                               30
Cal. Penal Code § 637.7             133, 134   conspired to harass and threaten            61
California Civil Code 52.1(j)             59   conspired to hide this information          37
California Constitution        131, 133, 135   Constitutional rights                       58
California Department of Labor        39, 45   constructive discharge                     137
California DFEH                          121   constructive termination                    56
California Hazardous Substances                consumer protection laws                   137
  Information and Training Act           128   continuous injury                           30
California Occupational Safety and Health      cover up what Apple did                    142
  Act                               125, 149   cover-up                                   122
California Penal Code § 18715            115   COVID safety                                31



                                - 20 -
               Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 22 of 96


COVID vaccine                               54   emissions                           33, 129, 145
cracked floor                               35   emissions of carcinogenic chemicals          146
cracked slab                                32   emissions of toxic chemicals and gases into
cracks                                  35, 37      Gjovik’s home                             142
cracks in the floor                     31, 32   emotional distress          140, 141, 143, 145
cried                                       11   emotional suffering from living in fear 147
cried every day                           144    employees “should be better informed about
crime victim                          27, 154       these types of environmental risks at our
cruel                                     150       offices.”                                  25
cruel and unjust hardship                 146    employees should know                         26
crying uncontrollable for hours every day        employees were and could be exposed 129
                                          145    employees were likely being exposed to
culture of discrimination and impunity 36           carcinogens                                30
data collection                           131    employment policies violate federal labor
data collection practices                 130       laws                                       43
data protection laws                      137    environmental                           146, 148
deadly                                    114    environmental crimes                         122
deadly gases                                20   Environmental Crimes                          28
death                                     142    EPCRA §§ 302, 304, 311-3                     128
death threats                             144    Ethylbenzene                   28, 33, 128, 129
deceit                                    151    e-waste                                       17
depravity                                 145    exceeding max industrial limits               28
depression                           145, 150    exceeds all bounds of decency                141
deranged                                  150    exhaust vents                                 23
deranged harassment, threats, and                explosion                                     29
   intimidation                           142    explosive                                    115
deranged maniacs                          143    exposed                                      145
despicable                      146, 150, 151    exposed to chemicals                          37
despised                                  151    exposing                                     130
develop cancer on her thyroid             146    exposure                             29, 36, 152
die of cancer and disease, homeless and          exposure to Apple’s chemicals and gases 151
   bankrupt                               146    exposure to toxic chemicals                  152
disabled                                    20   extortion                                     73
disgorgement                              152    fabricated                                   140
disgorgement of software                  154    fabrication                                   13
disgorgement of the unlawfully and               failed to seek medical treatment despite
   unethically obtained data              153       potentially life-threatening injury        32
disposed of it onsite                       23   failure analysis                              14
doctrine of continuing violations           50   failure to properly report and track
draconian                                   20      workplace injuries                         28
Duty of Good Faith and Fair Dealing       140    fainting spell                       28, 31, 142
ear canal scans                           143    false statements                              58
ear canals                                131    falsified                                     47
ear scanning                              131    falsified records                             58
ears                                      132    fatal arrythmia                              142
EEOC                            39, 42, 44, 92   fatal illness or injury                      142



                                 - 21 -
                Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 23 of 96


FBI              40, 45, 46, 47, 48, 51, 60, 117   harassing                                132, 142
fear for her safety                          141   harassment                          46, 47, 54, 55
fear of developing cancer                    145   hardship                                      150
fear of retribution and retaliation           16   harm to her dog                               142
feared for her life                          152   harmed their health                             37
Fed. R. Civ. P. 38(b)                        154   hazardous substance                       16, 129
Federal Witness Security Program             152   hazardous waste                                 27
fire code violations                          13   hazardous waste manifests                       23
firearms                                      11   HAZMAT                                    29, 113
five-point balancing test                     29   heavy metals                                  112
fixing the cracks                             32   hide or destroy evidence                        37
floor crack survey                            33   high risk for cancer and disease              142
floor cracks                                  26   highly sensitive information                  134
floor survey                                  31   highly suspicious “call-drops”                  47
floor-sealing                                 33   highly trafficked areas                       115
fraud                                    48, 107   highly volatile and poisonous substances 115
fraudulent                                    31   high-risk populations                           22
fraudulent concealment of numerous                 hostile work environment                    54, 56
   material facts in this case                50   hostility                                   25, 46
fraudulently                             36, 150   humiliation                          54, 144, 149
FTC                                          137   HVAC                                13, 29, 33, 36
FTC Act                                138, 153    HVAC issues                                     37
gag order                                58, 144   illegal                                       143
gather evidence                               38   illegal activity in the workplace             130
gather evidence in person                     38   illegal hazardous waste transporters and
gathered the evidence for Gjovik              37       disposal facilities                         23
GDPR                         135, 136, 137, 138    improper use of government resources 48
get Gjoviked                                  55   incarcerated                                  144
Gjovik posted on social media             40, 45   increase in workload                            56
Gjovik posted on Twitter                      40   indoor air                                      21
Gjovik would be found dead of “suicide” but        indoor air testing                          26, 37
   “never mind the double-tap.”              143   industrial hygienist                            21
Gjovik’s face                                 53   information regarding an employer's illegal
Gjovik’s risk of developing cancer was                 activities is not a trade secret          138
   significantly increased by the exposure         informing to the Feds                           64
   caused by Apple                           146   insomnia                                 145, 150
Gobbler 122, 135, 136, 137, 143, 152, 153          inspection                                  36, 37
GPS location                                 134   Intellectual Property Agreement                 43
groundwater plume                    21, 24, 129   intention to cause injury                     150
growths                                      142   intentional                              142, 145
H1B                                           31   intentional concealing material facts about
hacking                                       47       harm                                        35
hacksaw                                       29   Intentional Inflict of Emotional Distress 150
hair fell out                                142   interrogator                                  139
harass                                       145   intimidate                                      39
harassed                                      32   intimidate her to stay quiet                    19



                                  - 22 -
                 Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 24 of 96


intimidated                              57, 148    mental health                                 28
intimidating                                 142    might “make Apple & their goons act more like
intimidation                                   39     humans.”                                    35
intimidation of witnesses                    122    misleading and inaccurate statements 131
intimidation tactics                           43   misrepresent                                  39
intoxication                               11, 17   misrepresenting the conditions at the office
intruded into Gjovik’s seclusion             135                                                  33
invasion of privacy                          133    misrepresenting the situation                 33
invasions of employee privacy                154    modus operandi                                58
invasive logging data                        135    more likely to develop cancer and disease
investigation was “a sham”                     36                                               142
irreparable damage                             59   MSDS                                        126
Issue Confirmation        15, 16, 30, 34, 38, 83    nausea                                 144, 145
keeping communications in writing              36   NDA                                    132, 138
keystroke recorder                           134    NDAs                            43, 44, 78, 109
killed                                       142    negligence                                    39
killed herself or died of cancer             145    negligent                                     34
knife                                          27   never use these apps “in France and
knowingly falsifying or concealing a material         Germany.”                                 137
    fact                                       48   New York                          140, 143, 146
land use covenant                              25   New York Times                                37
largest library of ear (scans) in the world 132     NIED                                   140, 146
law enforcement                          58, 152    NLRB           8, 39, 40, 42, 43, 45, 48, 59, 68
leak                                           20   N-Methyl-2-pyrrolidone (NMP)                  23
leaking                                  39, 132    no plan to test the air                       32
lethal heartbeat                             142    None of this sounds safe                      28
Lisa Jackson                       22, 34, 37, 56   Northrop Grumman                      29, 30, 36
literally illegal                            131    not being a ‘team player.’                    19
litigious bullying                             75   notify the Federal EPA of changed
local Police Department                        11     circumstances at the site                   39
loss of consortium                           150    obstruction of justice                        45
loss of enjoyment of life activities         150    occupational exposure doctor                  29
loss of reputation                           150    Occupational Safety and Health Standards
lurking                                        57     1910 Subpart Z “Toxic and Hazardous
malice                                       151      Substances,”                              126
malicious                                31, 142    October All Hands meeting                     38
maliciously                                  150    online harassment                           143
manifests                                      29   OPCW                                        111
manufacturing activities                       21   organized crime                               12
manufacturing emissions                      142    Organized Intimidation                        39
Material Safety Data Sheets                  126    Organized Witness Tampering                   39
medical experiments                          152    OSH Act 1910.1020(g)                        127
medical monitoring                           151    OSH Act 910.1020(e)(2)(i)                   127
member of “secret cabals”                      13   OSHA                                       8, 42
mental anguish                          147, 148    outrageous                  141, 145, 146, 150
mental distress                              141    overly restrictive confidentiality policies 43



                                  - 23 -
                 Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 25 of 96


pandemic                                      31   questioned how it is “routine” if it has never
panic attacks                                144      been done before                           33
panic button                                  27   quit, left the country, or committed suicide
panopticon                                    39                                                 10
paralyzing anxiety                           145   Radar                                         10
passive samplers                              33   rashes                                       142
PCE                                           28   ratified                                     150
pepper spray                                  27   RCRA                                       5, 91
permanent psychological trauma               152   real estate “mega-deal”                       31
Permanent Resident Card                       31   reasonable expectation of privacy            133
permanently disfigure                        142   reasonable fear of imminent harm              59
personal data                       19, 137, 152   reassigning of projects                       56
phosphine                       20, 29, 112, 114   reckless                                     145
phosphine explosion                           29   reckless disregard                       57, 140
Phosphorus Trichloride                       111   reckless disregard of the health or safety of
photographs of the cracks in the floor as             others                                    151
  evidence                                    37   recklessness                                  39
photos                                   37, 138   referring to the office as a paved over
physical in-person harassment                143      environmental disaster zone                25
physical intrusions and harassment           143   refusal to participate in the cover-up       122
physical violence                             27   refuse to provide information                 15
poison air                                    30   refused to notify management                  14
poisoned                                     142   refuses to test the indoor air                32
police                                   48, 144   Relating to Chemical Weapons            130, 145
police department                             45   removed from the “workplace” and “all
political affiliation                         60      workplace interactions.”                   38
pollution                                     39   report the spill                              20
pollution in the area                         21   reporting crimes                             132
posted on social media                        39   reporting her illness                         54
Post-Traumatic Stress Disorder (PTSD) 10           reprehensibility                             151
precarious financial and medical situations        required an evacuation                        29
                                             145   Res Ipsa Loquitur                             30
pretext                                       55   Respondeat superior                           49
pretextual                              130, 139   restrictive covenant                         138
privacy               39, 58, 131, 132, 133, 137   retaliated                                    14
privacy interest                        133, 136   retaliating                                  145
Proposition 65                            26, 58   retaliation 25, 28, 29, 39, 55, 133, 141, 144
protected employee privacy interests         137   retaliation lawsuits                          37
protesting                                   130   retaliatory animus                            43
PTSD                                         145   retaliatory harassment                        54
public information                            25   retribution for filing a NLRB complaint       42
public interest in a workplace free from           RICO 8, 12, 14, 19, 20, 23, 38, 61, 63, 64,
  crime                                      132      116, 120, 145
public policy                           130, 132   right to a fair hearing                       58
put on bed rest for months                   142   right to a safe workplace                     58
quadrupling her workload                      34   right to exercise her labor rights            58



                                  - 24 -
                 Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 26 of 96


Right to Know                        26, 39, 128    stealth semiconductor manufacturing and
right to privacy                             135       silicon fabrication                         13
risk for cancer                              142    stonewall                                      15
Ronald Sugar                    9, 12, 34, 36, 56   stopped drinking the water in the building 24
ruined her career                              35   sub-slab depressurization system report 29
safe and healthful workplace                 130    substantially increased Gjovik’s workload 34
salary                                       140    suffer irreparable injury                     153
sanctions                               6, 35, 40   suffered tremendously                         152
Santa Clara city police                    47, 48   suicidal                                      144
Santa Clara County District Attorney’s              suicidal ideation                             145
   office                              28, 46, 47   SUMMA                                          33
SCOTUS                                         46   super intrusive                               132
SEC whistleblower tip              40, 45, 46, 52   Superfund                          21, 24, 26, 30
secret                                  131, 136    Superfund poison vents on the roof             30
secret factory                                 20   Superfund site                     16, 21, 24, 26
secret semiconductor manufacturing plant            Superfund sites                                30
                                               54   surveillance 27, 39, 43, 44, 122, 134, 135,
secretly taken from her iPhone                 42      142
semiconductor manufacturing              13, 114    surveilled                                    135
severance package                              35   surveilling                                    40
severe and fatal diseases                      20   suspicious conduct and statements              32
severe emotional distress               145, 146    Syria                                          35
severe or extreme emotional distress         141    Syrian laws                                    35
severe, mysterious illness                     20   systematic problems at Apple                   39
severed head                            118, 142    systemic cover-ups of those issues             36
severely ill                                   54   talking publicly about the issue               35
she is “a private person.”                     18   taser                                          27
she must behave herself if she wanted … to          TCE                   26, 28, 54, 128, 129, 145
   remain in the cabal                         13   temporal proximity                             55
she wanted to try to intervene for the sake of      terribly unusual and highly suspicious         38
   public health and the community             22   terrified                                  22, 40
significant risk                             129    terrorism                                     145
silane                                         20   terrorized                               130, 145
silicon or component issues                    14   terrorizing                                   142
Slack                                          35   testimony                                      57
smell anything weird                           26   testimony before the public body              122
smuggling                                      35   the “Ashley Issue”                             38
smuggling/sanctions                            79   the agencies were “complicit in the cover-up.”
social media                                 134                                                   46
social media accounts                        146    The Emergency Planning and Community
solvent exposure                               27      Right-to-Know Act (EPCRA)                  128
solvent fumes                                  54   therapist                                 27, 144
sorbent tubes                                  33   therapy                                       145
stalker                                      145    they can face extreme difficulty finding
stalking                                       59      employment elsewhere                        18
statute of limitations should be tolled        50   they wanted “collateral”                       19



                                  - 25 -
                 Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 27 of 96


they’re legit hiding                         38   US Constitution                          59, 107
threat of incarceration                     144   US Department of Justice                      62
threaten                               131, 144   US Department of Labor               44, 50, 121
threatened                             144, 148   US Dept of Labor                      39, 45, 46
threatened to harm and “ruin” and                 US EEOC                                      121
   “destroy” her                            142   US EPA                            19, 24, 29, 33
threatening                                 142   US EPA inspection                             37
threatening her to shut up about Apple’s          US EPA inspection of her Apple office 54
   chemical leaks                           142   US EPA TRI regulatory filing                  23
threatening her with violence                58   US FTC Act                                   131
threatening messages and social media posts       US NLRB                                  46, 121
                                             61   vaccines                                      21
threatening packages in the mail             61   vapor intrusion 16, 24, 25, 26, 28, 30, 32, 33,
threatening to decapitate one of Gjovik’s            34
   loved ones                               143   vapor intrusion testing                   23, 25
threats                                 46, 143   vapor intrusion testing results               56
threats against Gjovik                       45   vented into the exterior air                  29
threats of violence                          61   vented its exhaust of solvents and toxic
threats of violence and intimidation         57      gases                                      13
threats of violence and mayhem              143   venting metric tons of solvent fumes directly
three toxic groundwater plume                34      into the apartment windows                 54
Title III of the Superfund Amendments and         venting of phosphine into their air           29
   Reauthorization Act (SARA)               128   vicarious liability                           49
TO-15                                        33   victim of federal crimes                      64
Toluene                        28, 33, 129, 145   victim’s civil rights                        147
too hard on the white man                    25   video                                        135
toxic exposure                              152   videotaping                                  135
toxic waste                                  44   Vinyl Chloride                     26, 129, 145
toxic waste clean-up sites               30, 31   violation of her rights                      133
training AI models                          137   violation of their rights of privacy         152
traumatize                                  145   volatile organic compounds                21, 23
traumatized                                 145   vomiting                                     145
trespass                                    142   vulnerability                                151
Triple Site                                  16   Waco meets Enron                              44
trying to force her to quit                  34   waiver of claims                              35
U.S. DOJ                    6, 18, 40, 116, 121   warn                                   131, 138
unethical and unlawful conduct              139   warned about retaliation                      27
unexplained medical symptoms                 27   waste processing facilities                   23
unfair benefits and illegal profits         153   were not given notice                        131
unfair business practices              124, 153   whenever it thought it saw a face            122
unfavorable projects                         34   willful and conscious disregard of the rights
unlawful data collection                    131      or safety of others                       151
unreasonable expectation                     15   willful and malicious torts                  141
unsafe work conditions                      130   willful and/or conscious disregard of
unspecified reprisals                       144      Gjovik’s rights and safety                146
US Congress sent Apple a letter             131   witness intimidation                          46



                                  - 26 -
                 Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 28 of 96


witness intimidation (§ 1512)              63   Workplace Violence interrogator         41, 54
witness intimidation and witness retaliation    Worldwide Loyalty 12, 17, 18, 21, 34, 35, 38,
                                           45     68, 72, 74, 134, 136, 139
witness retaliation                        46   Worldwide Loyalty team         22, 67, 44, 144
witness tampering                          45   worst-case scenario                         33
workplace safety complaints                56   written record of their conversations       41
workplace safety concerns            39, 149    wrongful employer intrusions into protected
Workplace Violence              41, 116, 130      employee privacy interests               137
Workplace Violence and Threat Assessment        You are going to get “Gjoviked”             55
                                          139




                                 - 27 -
                Declaration & Exhibits | 3:23-CV-04597-EMC
     Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 29 of 96



First Amended Complaint: Filed October 25, 2023.
Post Hoc, Draft Index

                                                           Cal. Labor Code § 98.6                     293, 334
     18 USC § 229                                    304   Cal. Labor Code §6399.7 (Right to Know) 301
     22 CCR Section 12000                            303   Cal. Labor Code §6408(c)                        297
     31 C.F.R. Part 598                               98   Cal. Labor Code §6408(d)                   297, 298
     3250 Scott Blvd 2, 17, 18, 27, 50, 51, 52, 53, 55,    Cal. Penal Code 637.7                      305, 308
        56, 57, 59, 63, 66, 69, 72, 77, 85, 166, 204,      California DFEH                            118, 291
        206, 210, 211, 251, 252, 253, 254, 265, 272,       California Labor Code § 1102.5             291, 304
        276, 278, 280, 282, 302, 303, 326, 328, 338        California Labor Code 435                       305
     825 Stewart Dr                              59, 328   cancer 62, 64, 85, 94, 261, 282, 302, 321, 326,
     825 Stewart Drive 2, 16, 17, 18, 21, 23, 25, 27,         327
        37, 58, 60, 63, 69, 72, 77, 78, 83, 100, 108,      CERCLA         9, 12, 17, 57, 64, 65, 78, 100, 120,
        109, 113, 116, 124, 151, 176, 192, 201, 208,          122, 168, 169, 179, 194, 211, 304, 312
        209, 210, 211, 300, 302, 303, 338                  chemicals 50, 52, 55, 57, 58, 64, 67, 68, 70, 71,
     910.1020(e)(2)(i)                               300      104, 107, 111, 129, 173, 252, 272, 273, 275,
     absolute nuisance                               317      276, 277, 278, 280, 281, 282, 283, 285, 289,
     arsine                                          326      290, 300, 302, 303, 318, 319, 321, 326, 327,
     Arsine                 57, 276, 277, 279, 282, 319       330, 337
     Bane Civil Rights Act (§ 52.1)                  217   Civ. Code, § 3294(a)                            336
     bathroom                        155, 293, 311, 323    CLEAN AIR ACT           9, 252, 254, 255, 275, 302
     biometric                            305, 310, 314    Code of Regulations Title 8 §5194          303, 304
     biometrics         41, 42, 155, 312, 313, 314, 339    continuing nuisance                             317
     Cal. Bus. & Prof. Code § 17200                  308   COVID-19                    60, 62, 85, 90, 95, 298
     Cal. Bus. & Prof. Code § 17200                  339   cracked floor                          91, 198, 201
     Cal. Civ. Code § 1708.8(a), (b), (d)            310   cracks 18, 66, 83, 85, 87, 91, 100, 107, 108, 109,
     Cal. Civil Code § 3294(a)                       337      110, 111, 113, 121, 122, 201, 254, 266
     Cal. Code of Reg. §5194(b)(6)                   303   disease                                    322, 327
     Cal. Code Regs. Tit. 17, § 93000 as “Substances       Duty of Good Faith and Fair Dealing             316
        Identified as Toxic Air Contaminants” 319          ethylbenzene                                    302
     Cal. Code Regs. tit. 2, § 11021                 118   Foreign Narcotics Kingpin Sanctions
     CAL. CONST. ART. 1, § 1                         308      Regulations                                   98
     Cal. Gov't Code § 12940(h)                      118   FTC Act                         305, 313, 314, 339
     Cal. Lab. Code § 1102.5(f)                      334   gag order                  174, 193, 201, 219, 323
     Cal. Lab. Code § 280                            334   GDPR                                 311, 313, 314
     Cal. Lab. Code § 2802                           334   Gobbler      41, 42, 161, 204, 266, 269, 293, 310,
     Cal. Lab. Code § 6310(b)                        334      312, 313, 323, 339
     Cal. Lab. Code § 640                            298   hazardous substance                    17, 298, 303
     Cal. Lab. Code § 6407                           297   Hazardous Substances Information and Training
     Cal. Lab. Code § 98.                            291      Act                                          302
     Cal. Lab. Code § 98.6(b)                        334   Hazardous Substances Information and Training
     Cal. Lab. Code § 98.7 (a)(1), (f), (g)          291      Act. Labor Code                              302
     Cal. Lab.C. § 1102.5(b)                         291   hazardous waste 10, 13, 55, 56, 63, 67, 68, 70,
     Cal. Labor Code § 1102.5                        292      89, 111, 144, 169, 227, 239, 249, 250, 251,
     Cal. Labor Code § 232.5                         294      253, 254, 255, 272, 273, 275, 283, 290, 301,
     Cal. Labor Code § 435                292, 293, 310       328
     Cal. Labor Code § 6310                          296   Health and Safety Code,§§ 25100                 301
     Cal. Labor Code § 96(k)                         295



                                        - 28 -
                       Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 30 of 96


HVAC 2, 18, 19, 20, 26, 27, 56, 58, 60, 78, 80,          toluene                                57, 302, 326
   88, 100, 104, 121, 122, 165, 193, 198, 201,           Toluene                                         111
   244, 254, 300                                         Toxic Gas                                        10
IIED                                               319   ultrahazardous                                  289
killed                      105, 278, 281, 321, 326      unfair business practices                       339
Labor Code §6360-6399.7                      303, 304    Unfair Competition Law                          316
Labor Code section 6399.7                          302   US DOJ                                          291
Material Safety Data Sheets                        298   US EEOC                              118, 136, 291
MSDS                                               298   US FTC                                 21, 204, 305
NDA                                94, 101, 299, 307     vapor intrusion 16, 17, 18, 21, 23, 50, 57, 59, 63,
NDAs         95, 165, 167, 204, 217, 238, 274, 299          64, 65, 66, 70, 71, 73, 79, 80, 85, 87, 88, 90,
New York 9, 10, 11, 95, 104, 153, 193, 201, 223,            98, 100, 104, 105, 121, 192, 204, 208, 212,
   244, 262, 287, 290, 319, 323, 327, 332, 339              299, 300, 331
NIED                                               319   vent risers                                     201
NLRA                                          12, 210    videos           42, 262, 265, 293, 310, 312, 313
NLRB 6, 12, 130, 135, 136, 141, 146, 148, 150,           vinyl chloride                     50, 66, 302, 326
   152, 153, 165, 167, 171, 173, 175, 177, 204,          Vinyl Chloride                                  319
   205, 206, 209, 210, 211, 220, 245, 255, 257,          violence 67, 69, 149, 173, 217, 218, 220, 221,
   258, 259, 260, 264, 265, 266, 274, 291, 328              222, 223, 236, 257, 261, 323, 325
NMP 55, 57, 85, 111, 169, 208, 209, 251, 252,            Workplace Violence6, 7, 146, 257, 305, 316, 328
   255, 273, 280, 281, 282                               Worldwide Loyalty 4, 7, 15, 41, 43, 46, 49, 62,
Northrop Grumman 16, 17, 18, 23, 47, 60, 65,                90, 118, 155, 163, 166, 171, 226, 227, 228,
   78, 80, 90, 100, 101, 103, 151, 165, 169, 193,           229, 231, 232, 233, 234, 236, 242, 247, 288,
   200, 204, 212, 271                                       312, 316, 323, 32
Occupational Safety and Health Standards 1910
   Subpart Z                                       297
OFAC                                                98
OSH Act 1910.1020(g)                               300
OSHA 11, 12, 77, 104, 128, 131, 132, 153, 168,
   299, 301, 312
People of the State of California v. Apple Inc 301
private nuisance                                   317
Proposition 65                     66, 219, 282, 302
PTSD                                    29, 325, 335
RCRA                                            9, 251
sanctions                                    9, 98, 99
Section 6399                                       301
smuggling                               99, 100, 240
suicide                                            322
surveillance      67, 132, 143, 155, 157, 165, 171,
   175, 200, 205, 218, 263, 286, 292, 294, 295,
   305, 309, 310, 313, 321, 325
Syria                                  2, 98, 99, 138
Tamney                                             304
TCE 17, 21, 24, 25, 26, 38, 50, 56, 59, 66, 67,
   79, 104, 111, 169, 198, 244, 252, 282, 302,
   303, 326, 330
THE RACKETEER INFLUENCED AND CORRUPT
   ORGANIZATIONS ACT                               224
The Ralph Act                                      221



                                    - 29 -
                   Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 31 of 96




Second Amended Complaint: Filed December 21, 2023.
Post Hoc, Draft Index



12 U.S.C. § 2607(a)....................................... 376       50 U.S.C. §§ 4512, 4513 ............................... 382
15 U.S.C.A. § 78u-6 ...................................... 350       62 F.R. § 31159-01 ........................................ 570
18 U.S. Code § 1512 (b) ................................ 471         8 CCR § 14300 et seq. ................................... 560
18 U.S. Code § 546 ....................................... 379       8 U.S.C. § 1324b ........................................... 339
18 U.S. Code § 554 ....................................... 379       825 Stewart Drive... 2, 11, 16, 18, 19, 20, 22, 26,
18 U.S. Code § 872 ....................................... 437          27, 29, 31, 54, 66, 72, 74, 78, 79, 86, 95, 98,
18 U.S.C. § 1028 ........................................... 598        99, 104, 107, 113, 114, 131, 136, 138, 150,
18 U.S.C. § 1515(a)(1) .................................. 465           151, 154, 155, 157, 178, 235, 279, 297, 299,
18 U.S.C. § 1961(1)(B) ................................. 474            300, 307, 324, 325, 326, 338, 357, 376, 464,
18 U.S.C. § 3771 ........................................... 100        510, 513, 524, 530, 533, 554, 555, 562, 563,
18 U.S.C. § 912 ............................................. 474       564, 575, 624, 639, 658, 682, 689
18 U.S.C. 1512(a)(2)-(3) ............................... 466         AB-1015 ........................................................ 546
18 U.S.C.A. § 1961 (B) ................................. 464         abnormally dangerous.... 511, 512, 513, 520, 522
18 USC § 229 ................................................ 566    acutely hazardous .......................................... 502
2022 California bill “SB-1189 - Biometric                            air pollution .26, 27, 72, 104, 117, 135, 147, 339,
  information” .............................................. 599       432, 508, 555, 577, 597, 668
22 U.S. Code Subchapter VII - Sanctions with                         Air Resource Board ....................................... 453
  Respect to Human Rights Abuses in Syria, §§                        anatomical ..................... 572, 590, 600, 671, 683
  8791 - 879.................................................. 378   Apple’s conduct “demonstrated reckless
24 C.F.R. §1024.14(e)................................... 376            disregard” of US sanctions requirements. .... 134
28 U.S.C. § 1367 ............................................... 9   arsine ......497, 498, 499, 502, 503, 516, 610, 623
3250 Scott Blvd 2, 35, 36, 45, 66, 68, 69, 70, 71,                   Arsine .............................................. 78, 498, 516
  72, 73, 75, 76, 77, 79, 81, 85, 88, 92, 94, 98,                    asphyxiation ................................... 516, 517, 525
  104, 116, 131, 259, 312, 321, 336, 337, 358,                       ASTDR ......................................................... 516
  361, 362, 388, 444, 446, 447, 450, 451, 452,                       bad faith ...50, 122, 132, 178, 198, 267, 270, 381,
  453, 464, 486, 496, 497, 498, 501, 502, 503,                          387, 400, 472, 603, 647, 656, 657, 674
  510, 513, 519, 530, 562, 563, 566, 577, 592,                       Bane Act, Cal. Civ. Code § 52.1 .................... 384
  611, 624, 628, 632, 639, 658, 668, 682, 691,                       Bane and Ralph Civil Rights Acts (Cal. Civ.
  694                                                                   Code § 52.1, §52.7) .................................. 384
3255 Scott Blvd .... 35, 36, 69, 72, 76, 79, 80, 85,                 Bane Civil Rights Act (§ 52.1)....................... 385
  92, 94, 98, 105, 107, 108, 124, 157, 389, 530,                     benzene .......................................... 503, 609, 610
  607, 691                                                           Bhopal............................................................ 501
34 U.S.C. § 20141 ......................................... 100      biometric536, 572, 585, 586, 587, 588, 589, 590,
42 U.S. Code §§ 1712, 9602, and 9603......... 106                       594, 595, 598, 599, 600, 670
42 U.S.C. Section 7412(b) as “Hazardous Air                          Biometric ....4, 456, 587, 590, 593, 595, 598, 599
  Pollutants” ................................................ 609   biometrics ..38, 59, 241, 456, 582, 585, 586, 587,
42 US Code 11045(b)(4) ............................... 446              590, 591, 593, 594, 596, 598, 599, 600, 683
42 US Code 7413(c)(1) ................................. 566          BIPA .............................................. 598, 599, 600
42 US Code 7413(c)(2)(C)............................ 566             blood ... 71, 78, 497, 498, 499, 516, 596, 601, 602
42 USC 7413(c)(2)(B)................................... 446          Brownfield ................. 72, 92, 107, 108, 111, 530


           Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 32 of 96


burglary.......................................................... 401   Cal. Lab. Code § 6402 ................................... 554
Business and Professions Code §§ 17200 ..... 597                         Cal. Lab. Code § 6403 ................................... 552
CAA........9, 34, 99, 392, 495, 530, 565, 566, 694                       Cal. Lab. Code § 6405 ................................... 554
Cal Penal Code § 522 .................................... 477            Cal. Lab. Code § 6407 ................................... 550
Cal. Labor Code § 1102.5 ............................. 527               Cal. Lab. Code § 6408(c),(d),(e) ................... 556
Cal. B&P Code § 17200 and 17500. .............. 571                      Cal. Lab. Code § 980 ..................................... 167
Cal. Biz. & Pro. Code §§ 17200 .................... 593                  Cal. Lab. Code §§ 230, 230.5 .......................... 99
Cal. Civ. C. § 1572(3) ................................... 639           Cal. Lab. Code §§ 6325, 6409. ...................... 115
Cal. Civ. C. § 1573(1) ................................... 639           Cal. Lab. Code §§ 6400(a), 6402, 6405 ........ 554
Cal. Civ. C. §§ 1566-1567 ............................. 639              Cal. Lab. Code §142.3(c) .............................. 553
Cal. Civ. Code § 1708.8(a), (b), (d) .............. 586                  Cal. Lab.C. § 6400 ......................................... 572
Cal. Civ. Code § 1798.81.5(a)(1) and                                     Cal. Labor Code § 6310 ................................ 542
  (d)(1)(a)(vi). .............................................. 587      Cal. Labor Code § 1019(b). ........................... 112
Cal. Civ. Code § 51.7(b)(2) ........................... 403              Cal. Labor Code § 1051................................. 588
Cal. Civil Code § 1471 .................................... 89           Cal. Labor Code § 1102.5...................... 528, 571
Cal. Civil Code § 1580 .................................. 640            Cal. Labor Code § 232................................... 542
Cal. Civil Code § 3479. ................................. 392            Cal. Labor Code § 232.5........................ 545, 546
Cal. Civil Code § 43 ...................................... 392          Cal. Labor Code § 232.5................................ 543
Cal. Civil Code § 47(b) .................................. 395           Cal. Labor Code § 232.5................................ 543
Cal. Civil Code 1471 ....................................... 89          Cal. Labor Code § 3751(b) ............................ 601
Cal. Code Civ. P § 338(b).............................. 612              Cal. Labor Code § 435................... 538, 572, 586
Cal. Code Civ. Proc. § 337, 33 ...................... 605                Cal. Labor Code § 435................................... 537
Cal. Code of Reg. Title 8 §5194 ................... 564                  Cal. Labor Code § 435................................... 538
Cal. Code of Reg. §5194(b)(6) ...................... 563                 Cal. Labor Code § 6310................................. 562
Cal. Code of Regulations Title 8 §5194 ........ 563                      Cal. Labor Code § 6310(b) ............................ 548
Cal. Code Regs Title 8 § 340.2 ...................... 552                Cal. Labor Code § 6310................................. 534
Cal. Code Regs. Tit. 17, § 93000 .................. 609                  Cal. Labor Code § 6311................................. 557
Cal. Code Regs. Tit. 17, § 93001 .................. 610                  Cal. Labor Code § 6398................................. 556
Cal. Code Regs. Tit. 17, § 93001 as “Hazardous                           Cal. Labor Code § 6398 and § 6408. ............. 556
  Air Pollutants Identified as Toxic Air                                 Cal. Labor Code § 6398(a) ............................ 556
  Contaminants” ......................................... 610            Cal. Labor Code § 6398(b) ............................ 556
Cal. Const. art. 1, § 1............................. 582, 583            Cal. Labor Code § 6399.7 Hazardous
Cal. Gov Code §§ 13951, 13955 ..................... 99                     Substances Information and Training Act 562
Cal. Gov. Code § 12920 ................................ 579              Cal. Labor Code § 6401................................. 566
Cal. Gov. Code § 51.7 (b)(2), Stats. 2020, c. 327                        Cal. Labor Code § 6401.7. 6401. ................... 566
  (AB 1775).................................................. 403        Cal. Labor Code § 6401.9(c) (1)(A), (2)(D) . 566
Cal. Gov. Code § 9414 .................................. 577             Cal. Labor Code § 6401.9(c) (1)(A), (2)(F) .. 569
Cal. Gov't Code § 12940(h); Cal. Code Regs. tit.                         Cal. Labor Code § 6403................................. 572
  2, § 11021.......................................... 207, 208          Cal. Labor Code § 923................................... 543
Cal. Gov't Code § 12940(h); Cal. Code Regs. tit.                         Cal. Labor Code § 96(k) ........................ 546, 547
  2, § 11021.................................................. 208       Cal. Labor Code § 98.6.......................... 530, 541
Cal. Gov't Code § 12964.5(a). ...................... 131                 Cal. Labor Code §§ 1101 and 1102 ............... 540
Cal. Lab. Code § 1019(b)(C), (D) ................. 112                   Cal. Labor Code §§ 1101-1102 ..................... 537
Cal. Lab. Code § 1104 ........................... 341, 528               Cal. Labor Code §§ 6101, 6046, ................... 387
Cal. Lab. Code § 230(e) ................................ 581             Cal. Labor Code §§6360-6399.7 ................... 563
Cal. Lab. Code § 435 ..................................... 538           Cal. Labor Code §142.3 ................................ 553
Cal. Lab. Code § 6310(a)(1) .......................... 549               Cal. Labor Code §6360-6399.7 ..................... 564
Cal. Lab. Code § 6310(b). ............................. 550              Cal. Labor Code §6399.7 (Right to Know) ... 562
Cal. Lab. Code § 6400(a)............................... 554              Cal. Labor Code §6408(d) and 8 CCR § 340.2.
Cal. Lab. Code § 6401 ................................... 552               .................................................................. 552



                                          - 31 -
                         Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 33 of 96


Cal. Labor Code §6408(d). ............................ 551                  chemicals ...16, 68, 72, 73, 76, 77, 80, 86, 93, 95,
Cal. Penal Code § 136.1 ................................ 401                   96, 145, 149, 153, 154, 164, 193, 228, 266,
Cal. Penal Code § 136.1(a). ........................... 392                    363, 444, 445, 447, 450, 495, 496, 497, 499,
Cal. Penal Code § 141 ................................... 477                  501, 502, 503, 504, 506, 510, 512, 514, 516,
Cal. Penal Code § 148.3 ................................ 403                   517, 518, 519, 520, 533, 555, 556, 563, 564,
Cal. Penal Code § 148.5 ................................ 403                   606, 609, 610, 622, 624, 630, 650, 667, 681,
Cal. Penal Code § 148.5(b)............................ 403                     694
Cal. Penal Code § 459 ................................... 475               chlorine ...496, 497, 498, 499, 502, 504, 516, 610
Cal. Penal Code § 518 ................................... 436               Chlorine ......................................................... 503
Cal. Penal Code § 591 ................................... 475               chloroform ..................................................... 609
Cal. Penal Code § 602.5 ................................ 475                Clean Air Act .... 9, 444, 446, 495, 521, 562, 565,
Cal. Penal Code § 632(a) ............................... 476                   566, 575
Cal. Penal Code § 647(h) .............................. 470                 Clean Air Act, 42 U.S.C., § 7622(a). ............ 562
Cal. Penal Code § 647i .................................. 470               CLEAN AIR ACT..................................... 562, 566
Cal. Penal Code §§ 148.3 and 148.5 ............. 401                        Clean Water Act ............................................ 565
Cal. Penal Code 637.7 ................................... 572               coercive .544, 572, 582, 600, 617, 639, 641, 643,
Cal.Bus. & Prof.C. § 17200 or § 17500 ......... 570                            644, 671
Cal.Civ.C. § 47(b)(1)-(5). ............................. 402                compensation 46, 47, 48, 96, 111, 113, 339, 593,
Cal.Code.Reg. §5194(b)(6) ........................... 563                      605, 615, 675, 676, 682
Cal.Labor.C. §§ 6325; 6409.6, 6432 ........... 557                          conceal .......7, 107, 120, 191, 193, 419, 429, 444,
California A.B. 1775 ...................................... 403                445, 446, 452, 466, 471, 492, 514, 520, 535,
California Business & Professional Code §§                                     554, 623, 655, 658, 667, 668
  17200 and 17500. ...................................... 570               Constitutional Right to Privacy, CPRA, ICCPR,
California Constitution ..... 4, 386, 457, 481, 537,                           and FTC Act. ............................................ 540
  539, 572, 578, 582, 583, 586, 589, 593, 600                               Continuing Nuisance ..................................... 612
California Department of Labor .................... 202                     COVID-19 .4, 81, 82, 83, 84, 115, 123, 132, 381,
California DPH ................................................ 78             382, 383, 557, 632
California EPA 68, 279, 448, 449, 452, 528, 530,                            CPRA .................... 537, 540, 587, 588, 593, 600
  693                                                                       crack ...................................... 118, 127, 149, 553
California Fair Employment and Housing Act                                  cracks .22, 91, 114, 116, 118, 121, 123, 127, 128,
  ................................................................... 578      135, 136, 138, 149, 150, 151, 152, 154, 155,
California Health & Safety Code § 5411 ....... 608                             185, 193, 254, 307, 359, 478, 487, 521, 531,
California Health and Safety Code §25100 ... 561                               532, 565, 670
California Lab.C. § 6310(b)........................... 573                  CWA ....................................................... 99, 565
California Labor Commissioner .................... 542                      dangerous 95, 164, 205, 332, 334, 356, 444, 448,
California Privacy Rights Act ........................ 587                     450, 496, 501, 510, 511, 512, 513, 514, 517,
California Privacy Rights Act, ....................... 572                     518, 519, 520, 522, 523, 563, 597, 607, 609,
California Proposition 65................................. 90                  611, 612, 615, 669
CalOES ...................................... 66, 85, 106, 446              deadly .............................. 66, 499, 502, 516, 623
cancer ..69, 85, 86, 116, 131, 137, 479, 503, 526,                          death 99, 190, 363, 404, 407, 417, 467, 471, 496,
  563, 623, 624, 628, 630                                                      501, 516, 525, 559, 567, 610, 625, 630, 668
CERCLA .8, 9, 12, 18, 20, 29, 30, 31, 79, 86, 89,                           discussing wages and equal pay with coworkers
  99, 107, 135, 136, 166, 185, 193, 260, 263,                                   .................................................................. 572
  283, 299, 338, 340, 356, 374, 376, 377, 392,                              dizziness ................................ 516, 517, 525, 624
  478, 513, 521, 522, 526, 530, 531, 532, 560,                              DNA ........................................ 69, 424, 587, 590
  564, 565, 566, 575, 576, 582, 590, 613, 658,                              Dodd Frank Whistleblower Retaliation (15 USC
  661, 668, 689                                                                §78u-6(h)(1)(A)(iii)) ................................ 347
CERCLA, OSH Act ...................................... 530                  DTSC ....27, 36, 77, 80, 371, 388, 448, 449, 451,
CERLCA ......................................... 68, 438, 564                  452, 530, 693
change of circumstance ................................. 565                dumping............................. 16, 44, 413, 445, 495



                                           - 32 -
                          Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 34 of 96


Duty of Good Faith and Fair Dealing ............ 604                         hazardous waste.... 10, 16, 21, 22, 71, 77, 80, 85,
ears ...........61, 181, 186, 193, 196, 536, 585, 590                           92, 120, 154, 205, 220, 263, 357, 363, 364,
EEOC ............................................................ 207           371, 413, 419, 432, 443, 445, 446, 447, 448,
embargoes ...................................................... 381            449, 450, 451, 452, 454, 494, 495, 504, 511,
EMERGENCY PLANNING AND COMMUNITY                                                512, 513, 519, 521, 522, 561, 575, 608, 610,
   RIGHT-TO-KNOW ACT (EPCRA) ............. 521                                  611, 650, 658, 674, 693
emissions .. 36, 75, 116, 120, 181, 325, 361, 426,                           HAZMAT ..................................................... 501
   444, 453, 474, 496, 506, 518, 519, 524, 525,                              Health & Saf. Code, §§ 25249.5 et seq ......... 570
   530, 560, 564, 566, 575, 610, 611, 624, 628,                              highly toxic .................... 495, 502, 516, 518, 622
   630, 674, 694                                                             humiliation ... 341, 466, 480, 539, 615, 626, 631,
Employee Exposure to Chemicals [Cal.Lab.C.                                      634, 675, 678
   §§ 6398, 6400-6405, 6408; 8 Cal.Code.Reg.                                 HVAC ...22, 24, 25, 26, 27, 32, 78, 81, 105, 107,
   § 340.2; 29 CFR Z; OSH Act § 1910.1020]                                      113, 119, 120, 131, 136, 138, 145, 185, 193,
   ................................................................... 551      254, 255, 297, 300, 302, 307, 343, 437, 554,
EPCRA .................................. 107, 521, 562, 565                     566, 629, 639, 667, 668
EPCRA §§ 302, 304, 311-3 ........................... 562                     HVAC intake .... 22, 78, 107, 113, 136, 193, 300,
ethylbenzene .......................... 503, 556, 563, 610                      437
Ethylbenzene ......... 26, 27, 77, 93, 104, 120, 564                         ICCPR ........................... 537, 540, 587, 589, 600
exhaust vents ............................. 22, 76, 450, 606                 IIED .......217, 513, 614, 615, 616, 617, 618, 620,
extremely hazardous .............................. 446, 502                     621, 622, 625, 626, 629, 643, 644
Extremely Hazardous Substance ................... 107                        indoor air ...20, 26, 27, 28, 29, 32, 67, 72, 77, 91,
floor-sealing ................................................... 118           104, 118, 119, 124, 135, 136, 139, 299, 309,
Foreign Narcotics Kingpin Sanctions                                             487, 522, 555, 556, 558, 564
   Regulations (31 C.F.R. Part 598) .............. 133                       industrial....16, 18, 72, 73, 77, 80, 91, 93, 94, 95,
Form 301 ....................................................... 560            96, 98, 113, 145, 147, 365, 432, 499, 519,
FTC Act ... 4, 457, 537, 540, 587, 589, 593, 595,                               601, 609
   684                                                                       Infliction Of Emotional Distress.................... 614
gas 73, 75, 78, 105, 106, 108, 119, 254, 426, 437,                           Injury Reporting [8 Cal.C.Reg. § 14300] ...... 560
   496, 497, 498, 499, 501, 504, 515, 516, 517,                              intentional....6, 62, 413, 429, 444, 483, 501, 517,
   518, 519, 601, 608, 674                                                      606, 607, 611, 617, 621, 623, 627, 630, 680
gases ....6, 35, 181, 361, 450, 496, 497, 498, 501,                          intimidation .... 6, 10, 13, 14, 126, 127, 147, 164,
   502, 504, 514, 515, 519, 611, 630, 681                                       176, 183, 188, 198, 205, 223, 224, 226, 241,
GDPR .................................... 456, 589, 599, 600                    266, 268, 269, 270, 271, 279, 281, 282, 303,
Gobbler ..38, 56, 59, 60, 235, 250, 282, 312, 456,                              307, 331, 341, 349, 356, 363, 369, 384, 385,
   457, 474, 487, 536, 537, 538, 567, 585, 586,                                 386, 391, 393, 395, 396, 401, 403, 405, 409,
   590, 591, 594, 595, 599, 600, 621, 622, 660,                                 411, 412, 418, 419, 426, 427, 428, 430, 431,
   663, 665, 671, 683                                                           443, 464, 465, 466, 469, 471, 474, 476, 478,
Govt.C. § 91414(a)(2). .................................. 391                   479, 481, 482, 488, 492, 502, 509, 549, 616,
Govt.C. § 9414(a)(1) ..................................... 391                  622, 624, 625, 630, 636, 643, 646, 647, 652,
GPS.......................................... 38, 536, 537, 568                 653, 682
groundwater plume... 15, 18, 36, 74, 79, 85, 104,                            Issue Confirmation ..... 48, 52, 61, 112, 120, 177,
   452, 564                                                                     179, 189, 190, 191, 192, 194, 352, 355, 356,
groundwater plumes .............................. 126, 521                      367, 369, 370, 371, 433, 639
hazardous material. 419, 451, 518, 519, 520, 629                             Issue Confirmation”...................................... 177
hazardous substances .... 365, 446, 507, 511, 556                            Jack Nichols,.................................................. 154
Hazardous Substances Information and Training                                knowing .....42, 43, 107, 131, 157, 332, 341, 365,
   Act (Section 6399.7) ................................. 562                   402, 403, 438, 443, 446, 495, 504, 506, 520,
Hazardous Substances Information and Training                                   539, 554, 577, 604, 610, 611, 623, 625, 629,
   Act. ............................................................ 562        630, 654, 667, 668, 671
                                                                             Labor Code § 435, ......................................... 537



                                           - 33 -
                          Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 35 of 96


Labor Complaint: § 98.6................................ 542                  OFAC ........................ 3, 134, 377, 378, 379, 381
Labor Relations with Beijing.......................... 116                   OFAC Sanctions ........................................... 377
landfills .......................... 447, 449, 450, 494, 610                 Organized Intimidation; Organized Witness
Lawmakers in one stated accused Apple of                                        Tampering .................................................. 191
   “unethical behavior and potentially violating                             OSH Act ..4, 7, 12, 283, 340, 438, 551, 554, 555,
   state ethics laws.” ..................................... 188                570, 582
legislature of the state of Georgia .................. 188                   OSH Act § 1910.1020(e)(2)(i)(A)(3) ........... 554
lethal .......................... 6, 497, 501, 513, 518, 630                 OSH Act § 1910.1020(e)(2)(i)(A)(3), .......... 554
Lisa Jackson .2, 31, 33, 34, 80, 83, 121, 126, 153,                          OSH Act § 1910.1020(e)(2)(i), ..................... 555
   177, 181, 251, 260, 261, 262, 299, 302, 303,                              OSH Act § 1910.1020(g) .............................. 554
   304, 305, 343, 349, 357, 358, 361, 364, 366,                              OSH Act § 1910.1020(g)(1).......................... 554
   371, 381, 449, 525, 534, 609, 668, 689, 693                               OSH Act §1910.1020(e)(2)(i)(A)(1) ............ 555
making political statements ........................... 572                  OSHA ..12, 23, 85, 104, 145, 164, 166, 191, 197,
Material Safety Data Sheets/Safety Data Sheets                                  198, 237, 260, 315, 346, 356, 400, 416, 515,
   ................................................................... 555      516, 530, 549, 555, 560, 561, 565, 590, 644,
MDM .............................................................. 37           658, 661
medical studies ...................................... 533, 590              People of the State of California v. Apple Inc ..... 561
Methylene Chloride......................................... 77               personal data...481, 533, 593, 594, 597, 683, 686
misrepresenting ............................................... 123          phosphine ..35, 66, 105, 106, 446, 497, 499, 502,
MSDS .................................................... 556, 557              503, 517, 610
murder ............................................................. 42      Phosphine ........................ 78, 106, 497, 516, 517
NCDF Disaster Complaint ........................... 212                      phosphorus .................................................... 610
NCDF Disaster Complaint: .......................... 212                      poisonous............................................... 504, 518
NDAs ... 132, 139, 159, 257, 259, 260, 314, 315,                             political activism ............................................ 546
   350, 431, 536, 540, 543, 544, 595, 656, 684                               political activity. ............................................ 548
negligence ..... 107, 117, 126, 137, 197, 341, 363,                          political affiliation .......................................... 398
   384, 464, 515, 520, 561, 578, 645                                         political speech .............................................. 573
negligent 126, 369, 496, 520, 601, 606, 607, 613,                            pollute............................................................ 606
   621, 623, 627                                                             pollution ....6, 17, 21, 27, 94, 108, 135, 147, 205,
neighborhood ......................... 444, 496, 501, 518                       369, 426, 447, 511, 521, 524, 525, 556, 608,
NESHAP ............................................... 565, 566                 609
NIED ............................................................. 614       privacy .9, 39, 110, 137, 159, 167, 198, 220, 329,
NLRB .................................................... 208, 216              362, 386, 398, 419, 420, 427, 454, 455, 456,
N-Methyl-2-pyrrolidone.................. 76, 323, 445                           457, 463, 481, 538, 539, 540, 547, 582, 583,
NMP ..76, 77, 116, 154, 264, 323, 324, 325, 444,                                584, 585, 586, 587, 588, 589, 590, 592, 593,
   445, 451, 474, 500, 502, 503, 694                                            595, 599, 600, 602, 655, 683, 686, 695
NMP emissions ............................................. 116              Proposition 24, 1798.125(A)(1),(E) .............. 588
Northrop Grumman 2, 14, 15, 16, 17, 18, 19, 20,                              Proposition 65 ....................... 387, 503, 563, 570
   21, 26, 27, 32, 78, 89, 107, 113, 114, 126,                               Pussy Riot ...................................................... 548
   127, 136, 138, 139, 144, 234, 254, 255, 264,                              Racketeer Influenced And Corrupt
   297, 299, 304, 309, 312, 338, 363, 366, 369,                                 Organizations Act (RICO) 18 U.S.C. § 1962
   374, 375, 376, 522, 524, 526, 534, 668, 691                                  .................................................................. 408
nuisance .. 20, 363, 386, 466, 520, 605, 606, 607,                           Ralph Civil Rights Act (Cal. Civ. Code §51.7)
   608, 611, 612, 613, 678                                                      .................................................................. 397
Nuisance (Cal. Civil Code § 3479)................ 605                        RCRA ..8, 9, 31, 80, 99, 392, 446, 452, 521, 530,
OCCPR.......................................................... 572             565, 566, 610, 694
Occupational Safety and Health Standards 1910                                reckless ..134, 363, 366, 369, 379, 381, 385, 402,
   Subpart Z “Toxic and Hazardous Substances,”                                  403, 441, 443, 557, 606, 607, 614, 619, 622,
   ................................................................... 552      623, 678, 679, 680
odor ....................................... 305, 516, 606, 612              recklessness ........................................... 197, 520



                                           - 34 -
                          Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 36 of 96


Recklessness..................................................... 191     solvent vapors ............................................ 6, 107
recordings ...................................... 458, 486, 588           solvents vapors ................................................ 35
refusing to sign a waiver of liability ................ 572               spill ..... 35, 85, 446, 447, 501, 516, 517, 519, 689
respondeat superior ............................... 384, 464              spills................................... 16, 36, 447, 452, 503
RICO ..................................................... 349, 433       stalking ...........330, 334, 407, 417, 465, 467, 683
RICO Act....................................................... 189       strict liability . 511, 512, 513, 515, 520, 522, 538,
Right to Know .. 90, 99, 104, 191, 197, 356, 520,                            607, 611, 612
    562                                                                   sub-slab ..21, 22, 24, 25, 27, 28, 30, 78, 105, 107,
Right-to-Know Retaliation [Cal. Labor Code                                   108, 113, 114, 136, 138, 254, 255, 297, 300,
    §6399.7] .................................................... 562        302, 338, 532, 566
Ronald Sugar .2, 14, 15, 16, 17, 21, 79, 126, 127,                        suicide nets ...................................................... 116
    191, 195, 263, 303, 349, 351, 353, 360, 363,                          Summa..................................................... 28, 119
    365, 366, 367, 370, 374, 375, 376, 422, 455,                          Superfund site ...6, 18, 54, 62, 72, 85, 86, 92, 93,
    483, 658, 689, 690, 691                                                  98, 111, 123, 127, 259, 279, 312, 315, 326,
rooftop ....................... 22, 23, 24, 25, 27, 28, 113                  363, 366, 374, 452, 522, 526, 531, 533, 554,
salary.........46, 131, 200, 306, 339, 509, 604, 676                         673, 691
sanctions 134, 349, 377, 379, 380, 381, 432, 433,                         surveillance ....38, 40, 84, 93, 110, 198, 220, 241,
    463, 574, 662, 695                                                       244, 254, 257, 268, 305, 306, 315, 332, 333,
sanctions violations........................................ 133             347, 400, 407, 417, 454, 456, 475, 507, 535,
sanctions’ ...................................................... 212        537, 538, 539, 544, 546, 572, 582, 583, 594,
Santa Clara County Superior Court .............. 216                         596, 619, 622, 627, 660, 666, 681, 685
Santa Clara District Attorney’s office .. 281, 300,                       Syria....................................... 134, 212, 377, 381
    475                                                                   Syrian............................................................. 134
SARA............................................. 562, 565, 613           Tamney .......................................................... 573
Sarbanes-Oxley (SOX) Whistleblower                                        TCE ..... 18, 19, 20, 26, 27, 28, 32, 55, 67, 68, 70,
    Retaliation (18 U.S.C. § 1514A) ............... 345                      87, 91, 93, 108, 137, 145, 154, 264, 303, 309,
Sarbanes-Oxley Act and Dodd-Frank Act                                        359, 437, 445, 451, 503, 521, 524, 563, 564,
    statutes ...................................................... 343      623, 629, 667, 668, 682
Sarbanes-Oxley Act in 2002 .......................... 426                 The INTERNATIONAL COVENANT ON CIVIL
secretly .............70, 241, 458, 577, 600, 657, 660                       AND POLITICAL RIGHTS ........................... 590
section 102 of the Defense Production Act ... 382                         THE INTERNATIONAL COVENANT ON CIVIL
Section 13(a) of THE SECURITIES EXCHANGE                                     AND POLITICAL RIGHTS ........................... 591
    ACT OF 1934 ............................................. 378         The IRAN THREAT REDUCTION AND SYRIA
Section 5 of the FTC Act .............................. 595                  HUMAN RIGHTS ACT OF 2012 ................. 378
Section 6399, ................................................. 562       threatening ..... 87, 112, 118, 167, 188, 190, 194,
silane .......................................... 35, 66, 503, 517           234, 246, 306, 314, 340, 383, 386, 395, 401,
Silane ............................................... 78, 500, 517          402, 403, 404, 407, 417, 418, 420, 426, 439,
silicon fabrication 15, 45, 68, 131, 193, 343, 356,                          459, 466, 468, 470, 476, 490, 492, 498, 582,
    361, 389, 451, 453, 514, 606, 611, 629, 668                              618, 619, 630, 632, 634, 641, 666, 677
silicon tetrahydride ........................................ 517         threats 6, 7, 10, 33, 188, 190, 268, 276, 282, 324,
Skipping the Line & Vaccine Hoarding ......... 381                           341, 384, 385, 391, 393, 395, 398, 399, 401,
Slack ..... 126, 127, 133, 137, 141, 142, 145, 150,                          403, 404, 406, 423, 425, 428, 431, 436, 443,
    151, 154, 155, 158, 160, 162, 163, 178, 206,                             464, 465, 466, 467, 480, 488, 490, 551, 567,
    214, 354, 355, 480, 535, 639, 654                                        615, 616, 617, 619, 621, 622, 625, 626, 627,
smuggling134, 135, 213, 377, 379, 381, 433, 647                              628, 629, 632, 644, 646, 647, 655, 682
social media 8, 84, 144, 158, 166, 167, 184, 194,                         toluene ..............77, 500, 503, 556, 563, 610, 623
    198, 212, 232, 235, 266, 268, 329, 381, 382,                          Toluene .26, 77, 78, 93, 104, 120, 154, 264, 445,
    393, 395, 399, 401, 403, 407, 408, 446, 464,                             499, 564
    468, 470, 478, 480, 488, 489, 507, 542, 550,                          Toxic Gas .......................................................... 9
    567, 583, 620, 623, 640, 645, 661, 666, 673                           Toxic Torts...................................................... 191



                                          - 35 -
                         Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 37 of 96


toxic waste and labor rights ........................... 127            US FTC Act .................................................. 572
trauma............................................ 539, 624, 682        US SEC ......................................................... 201
trespassing ..................................................... 401   User Study..................................................... 593
TRW Microwave Superfund site . 15, 62, 67, 79,                          vapor intrusion 19, 20, 22, 26, 27, 28, 29, 30, 32,
   86, 97, 205, 554, 691                                                   67, 68, 69, 70, 79, 86, 87, 88, 89, 90, 91, 95,
tVOC ................................................. 73, 74, 486         96, 98, 104, 108, 110, 115, 116, 118, 119,
Twitter ... 63, 143, 144, 146, 158, 159, 160, 161,                         120, 124, 126, 136, 137, 139, 142, 145, 146,
   164, 165, 166, 167, 168, 176, 180, 181, 184,                            185, 254, 296, 300, 309, 312, 324, 338, 356,
   186, 187, 188, 189, 190, 191, 195, 196, 197,                            359, 521, 524, 531, 554, 555, 557, 560, 615,
   198, 199, 200, 201, 202, 203, 204, 206, 207,                            659
   208, 211, 212, 213, 214, 216, 218, 219, 224,                         vented .............................. 35, 105, 497, 623, 694
   225, 232, 233, 235, 236, 237, 238, 239, 241,                         vents ....22, 24, 25, 27, 78, 93, 95, 107, 113, 136,
   244, 251, 252, 253, 255, 256, 265, 266, 267,                            138, 193, 254, 297, 300, 359, 486, 518, 606
   270, 271, 273, 276, 277, 278, 280, 281, 298,                         vinyl chloride ...... 19, 68, 91, 119, 521, 563, 564,
   301, 302, 313, 315, 318, 320, 321, 322, 323,                            609, 623
   324, 325, 326, 327, 330, 331, 336, 337, 341,                         Violations of Env Laws .................................... 191
   350, 387, 390, 391, 399, 400, 401, 404, 465,                         VOCs ................18, 72, 73, 77, 78, 185, 451, 506
   467, 468, 469, 472, 488, 533, 544, 547, 569,                         Volatile Organic Compounds .......................... 73
   655, 657, 660, 663, 665, 673, 690                                    weapons .495, 496, 501, 504, 591, 592, 627, 676,
Ultrahazardous / Abnormally Dangerous                                      683
   Activities ................................................... 510   Whistleblower Protection Program ............... 197
ultrahazardous activities510, 511, 513, 515, 518,                       Wildfire Smoke [Cal.C.Reg. Title 8, § 5141.1]
   520, 676                                                                .................................................................. 558
Unfair Business Practices & False Advertising                           Workplace Violence . 4, 6, 7, 222, 223, 225, 226,
   [Cal. Bus. & Prof. Code §§ 17200, 17500] 570                            318, 401, 403, 466, 566, 569, 570, 604, 616,
US CFR, Title 29, Subpart Z – Toxic and                                    641, 643, 644, 652, 653, 657, 662, 690
   Hazardous Substances .............................. 552              Worldwide Loyalty ..... 7, 64, 126, 241, 255, 259,
US Department of Labor ............................... 198                 281, 412, 413, 414, 415, 419, 420, 421, 422,
US DOJ ......................................................... 219       423, 427, 440, 441, 462, 509, 568, 585, 659,
US DOJ NCDF ............................................. 381              690
US EEOC .............................................. 214, 218         Wrongful Discharge In Violation Of Public
US EPA ......................................................... 186       Policy (Tamney)......................................... 571
US EPA TRI...................................... 76, 77, 116            Xylene...................................................... 77, 499
US FTC ......................... 312, 482, 572, 595, 596




                                          - 36 -
                         Declaration & Exhibits | 3:23-CV-04597-EMC
        Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 38 of 96



Third Amended Complaint: Filed February 27, 2024.

Post Hoc, Draft Index


                                                       Apple Energy LLC                                   47
“Apple Cares about Privacy Unless You Work at          arrest                                             61
Apple.”                                           25   arrhythmia                                          8
15 U.S.C. § 77q(a)(1)                             48   arrhythmias                                         8
18 U.S. Code § 1962(a)                            34   arsine                                   8, 9, 50, 74
18 U.S. Code § 371                                44   Artificial Intelligence                             4
18 U.S.C. § 1001                                  41   asphyxia                                            8
18 U.S.C. § 1343                                  43   Assembly Members                                   12
18 U.S.C. § 1512(c)(1)                            41   attic                                              33
18 U.S.C. § 1514A(a)(1)                           51   bad faith                                          19
18 U.S.C. § 1519                                  41   bathrooms                                      64, 69
18 U.S.C. § 229F(7)                               49   Benzene                                             9
18 U.S.C. § 245(b)(5)                             60   biometric                                          78
18 U.S.C. § 912                                   40   biometrics                             24, 69, 78, 79
18 U.S.C. 1512(c)                                 41   blood                                            8, 9
18 U.S.C. 1512(d)                                 42   blood pressure                                  8, 76
18 U.S.C. Section 1962(c)                         49   Bloomberg                                          25
18 U.S.C. Section 1962(d)                         49   bradycardia                                         8
18 USC 229                                        50   breaking into her apartment                        33
2-3-4 Methyl hippuric Acid                         9   burglarizing                                       58
29 CFR Z                                          67   burglary                                           73
3250 Scott Blvd                                   75   burns                                               8
3250 Scott Boulevard                        3, 7, 10   Business Conduct                                   26
3255 Scott Blvd                            7, 10, 12   Business Insider                                   23
40 CFR Section 372                                43   CAA                                        60, 64, 68
42 U. S. C. §9607(a).                             57   Cal. Bus. & Prof. Code § 17200                     77
42 U.S.C. § 6928(e)                               54   Cal. Bus. & Prof. Code § 17200                 68, 77
42 U.S.C. § 7413(c)(4)– (5)                       54   Cal. Bus. & Prof. Code § 17200                     79
42 U.S.C. Section 7412(b)                         57   Cal. Bus. & Prof. Code § 17200                     81
42 US Code 7413(c)(2)(A)                          44   Cal. Civ. Code § 1708.8(a), (b), (d)               69
8 CCR § 5189(b)(1), (c)                           11   Cal. Civil Code § 3479                             53
825 Stewart Drive                      3, 10, 13, 52   Cal. Code of Reg. §5194(b)(6)                      68
A.C. Wellness Center                              36   Cal. Code Regs. Tit. 17, § 93000                   57
Absolute Nuisance                                 54   Cal. Code Regs. Tit. 17, § 93001                   57
AC Wellness                                    8, 10   Cal. Code. Reg. § 340.2                            67
Acetone                                            9   Cal. Gov. Code § 9414                              71
Acetonitrile                                       9   Cal. Gov't Code § 12964.5(a)                       20
activism                                          62   Cal. Health & Safety Code § 41700                  54
ADA                                       18, 22, 79   Cal. Health & Safety Code § 42400                  54
AI data collection                                64   Cal. Lab. Code § 230(e)                            71
air emissions                                     43   Cal. Labor Code § 1102.5                       64, 68
Albany, NY                                        33   Cal. Labor Code § 232                              66
anatomical measurements                           79   Cal. Labor Code § 232.5                            66
anatomical studies                                24   Cal. Labor Code § 3751(b)                          79
apartments                                        45   Cal. Labor Code § 435                          64, 69

                                      - 37 -
                     Declaration & Exhibits | 3:23-CV-04597-EMC
         Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 39 of 96


Cal. Labor Code § 435,                                68   concealment                                      33
Cal. Labor Code § 5143(a)(1) and § 5143(c)(1) 14           condoning                                        33
Cal. Labor Code § 5154.1(e)(4)(d)                     14   consent                                          69
Cal. Labor Code § 6310                                66   Constitution                                     65
Cal. Labor Code § 96(k)                               65   consumer protection                              70
Cal. Labor Code § 98.6                                65   cover-up                                         33
Cal. Labor Code §§ 1101-1102.                         64   COVID-19                             15, 22, 26, 67
Cal. Labor Code §§ 6325; 6409.6, 6432                 67   cracked                                          16
Cal. Labor Code §§ 6398, 6400-6405, 6408              67   cracked slab                                     41
Cal. Labor Code §§ 6401.7, 6401.9                     68   cracks                                           15
Cal. Labor Code §6399.7                               67   criminal                             61, 64, 65, 70
Cal. Mechanical Code § 407.2.1                        14   criminal law                                     28
Cal. Penal Code § 136.1                               59   Cupertino                                 3, 36, 46
Cal. Penal Code § 136.1(b)                            60   CWA                                              68
Cal. Penal Code § 140(a)                              59   danger                                           45
Cal. Penal Code § 459                                 40   dangerous                                25, 54, 56
Cal. Penal Code § 591                                 40   dangerous chemicals                              44
Cal. Penal Code § 602.5                               40   data collection                          24, 63, 69
Cal. Penal Code § 632(a)                              41   dead                                             39
Cal. Penal Code § 637.7                               68   deadly                                    8, 50, 74
Cal. Penal Code § 647(h)                              40   death                                            50
Cal. Penal Code § 647i                                40   Decision of Merit                            29, 33
Cal. Penal Code 632(a)                                41   Deed Poll                                        24
Cal. Water Code, § 13050                              54   defraud                                          45
Cal.C.Reg. Title 8, § 5141.1                          67   dense cloud of lethal gas                        50
CalASPA                                                7   Department of Toxic Substances Control (DTSC) 46
CalEPA                                                46   disabilities                                     61
California Department of Labor DIR                    24   discovery rule                                   33
California Dept of Labor                              25   disposal                                         44
California DFEH                                   23, 25   disposal facilities                              43
California EPA                                         9   DNA tests                                        24
California Labor Commissioner                         65   Dodd-Frank                                       28
CALIFORNIA PRIVACY RIGHTS ACT                         68   DOJ National Center for Disaster Fraud           26
cancer                                    15, 19, 74, 76   DTSC                                     44, 46, 47
carcinogenic                                          74   dump                                             28
CERCLA                 3, 16, 21, 28, 57, 60, 64, 68, 72   dying                                     8, 10, 12
chattel property                                  33, 56   EAP                                              22
chattels                                              56   ear scans                                        24
chemical exposure                     10, 17, 19, 62, 76   Embezzlement                                     49
chemical inventories                                  50   emissions                                        57
chemicals                                         54, 57   environmental crime victim                       62
chest pain                                            11   environmental crimes                             30
chlorine                                           9, 50   environmental health                             62
chlorine gas leaks                                    50   environmental violations                         63
Chloroform                                            14   EPCRA 313.                                       43
civil penalty                                         80   ESG                                              35
Clean Air Act                                         44   Ethics and Compliance                            48
combustible                                           56   ethylbenzene                                     15
community                                             57   Ethylbenzene                                  9, 14
compromised’                                          16   e-waste                                      46, 47
concealed                                             41   e-Waste                                          67


                                        - 38 -
                       Declaration & Exhibits | 3:23-CV-04597-EMC
        Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 40 of 96


exhaust                                     8, 45, 54   illegal dumping                                    44, 45
exhaust stacks                                     14   illegally disposing                                    44
exhausted                                          55   imminent danger of death                               50
exploitation                                       25   imminent danger of death or serious bodily injury.     54
extortion                                          73   imprisonment                                           61
extreme condition leave’                           10   inappropriate                                          56
fabrication                                        56   incinerated                                            46
factory                                            56   indoor air                                             16
fainting                                           11   industrial                                             52
fainting spells                                     8   industrial chemicals                                    9
FBI                                        26, 39, 52   industrial hygienist                                    9
FDA Office of Criminal Investigations              26   injuries                                               57
Federal Officers                                   42   Injury Reporting [8 Cal.C.Reg. § 14300]                67
FERC                                               47   inspection                                    12, 21, 24
Financial Times                                25, 28   INTERNATIONAL COVENANT ON CIVIL AND
Fire Department                                     9       POLITICAL RIGHTS                                   69
fire hazard                                        56   intimidate                                             40
five-point balancing test                          17   intimidation                                           58
flammable                                          56   invasive                                               24
fluorine gas leak                                   7   Isopropanol                                             9
fossil fuels                                       47   Issue Confirmation                                     30
frantic repairs                                    41   kill                                                   73
fraudulent concealment                             33   Labor Code                                             66
fraudulent statements                              51   labor dispute                                          61
FTC Act                                        68, 69   Labor Law                                              22
fumes                                              45   land                                                   56
gas                                      8, 9, 45, 56   land use covenant                                      16
gas bunkers                                        12   Landfill                                               45
gas leak                                           50   landfills                                     44, 46, 55
Gene Levoff                                        48   law enforcement                                        33
Gobbler                    24, 63, 69, 74, 77, 78, 79   leasehold                                     54, 55, 56
Gobbling                                           60   legislatures                                           64
Govt.C. § 9414(a)(1)                               59   lethal                                                  8
Govt.C. § 9414(b)                                  59   Lisa Jackson                              17, 19, 45, 47
Greenhouse Gas Emissions                           47   listening devices                                      41
groundwater                                        26   lurking                                                33
hacking                                            58   Maiden, North Carolina                                 47
hazardous electronic waste                         26   mass suffering                                         50
hazardous materials                                52   Massachusetts                                           4
hazardous waste                                44, 46   mayhem                                                 75
HAZMAT                                          7, 50   medical experiments                                    79
heart failure                                       8   medical studies                                        24
Hexafluorobutadiene                                 7   medical tests                                           9
Hexane                                              9   Methylene Chloride                                  9, 14
homes                                              56   mishandled                                             26
hospital                                           50   Moral Character investigation                          40
HVAC                               13, 14, 19, 21, 53   Multiple Sclerosis                                      8
HVAC intake                                        55   National Relations Labor Board                         28
HVAC intakes                                       14   NDA                                                19, 66
hypotension                                        76   NDAs                                          22, 66, 78
illegal                                            68   neighborhood                                           57


                                      - 39 -
                     Declaration & Exhibits | 3:23-CV-04597-EMC
         Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 41 of 96


neighborhoods                                         44   re-entrainment                                      14
NESHAP                                                68   repairs                                             15
New York                                      41, 74, 75   residential                             11, 15, 56, 57
New York Times                                        22   residents                                           45
NLRB                   3, 23, 25, 26, 27, 28, 29, 32, 41   Respondeat superior                                 33
N-Methyl-2-pyrrolidone                            11, 43   Right to Know                               15, 24, 67
NMP                                       11, 40, 43, 45   Ronald Sugar                                28, 30, 52
Northrop Grumman                      13, 19, 22, 28, 36   roof                                                14
nudity                                                78   salary                                           4, 71
numbness                                              11   San Francisco                                       33
obstruction of justice                                64   sanctions                                   26, 51, 52
October All Hands                                     20   Santa Clara                          3, 12, 33, 49, 55
OHCHR                                                 69   Santa Clara City HAZMAT                              9
OPCW Section 299                                      50   Santa Clara County                              11, 46
OSH Act                                       28, 64, 68   Santa Clara County Sheriff’s Office                 36
OSH Act § 1910.1020                                   67   Santa Clara District Attorney’s office              29
OSHA                                              24, 25   Santa Clara Fire Department                          7
outrageous                                73, 74, 75, 80   Santa Clara HAZMAT                                  36
ozone leak                                             7   Santa Clara Square Apartments                       53
palpitations                                          11   SARA                                                68
panopticon                                            25   secrecy                                             57
pay                                               65, 66   secret                                              57
pay survey                                            66   Securities Act                                      48
PCE                                                   14   Semiconductor fabrication                           56
phosphine                                       7, 8, 50   Senators                                            12
phosphine leak                                         7   serious bodily injury                               50
Phosphorus Trichloride                                50   SF Bay View                                         10
photos                                                74   slab                                    13, 15, 21, 41
Poison Control                                         9   Slack                                   18, 20, 22, 26
poisoning                                             17   smuggling                                   26, 51, 52
poisonous                                             56   social media                                    41, 66
poisonous gas                                         16   solvent                                             45
political activity                                    64   solvent exposure                             8, 10, 61
pollution                                     14, 25, 45   solvent vapor                                       54
Position in a Labor Dispute                           61   spill                                                7
premature ventricular contractions                     8   stalking                                    33, 41, 58
press                                                 64   Stewart 1                                           24
privacy                                   62, 65, 69, 79   strict liability                                    57
Proposition 65                                15, 54, 68   sub-slab                                        13, 15
prowled                                               40   sub-slab exhaust                                    13
PTSD                                              61, 76   sub-slab ports                                      16
public                                            64, 69   sub-slab vapor exhaust vents                        14
public bodies                                         63   suicide                                             39
public health                                         45   Sunnyvale                                3, 12, 28, 46
pyrophoric                                            56   Superfund                                           57
Quotation of the Day                                  22   Superfund National Priority List                    58
racketeering                                          30   Superfund site                          11, 13, 15, 53
rashes                                             8, 76   Superfund sites                                     16
ratifying                                             33   surveillance                    25, 33, 63, 65, 69, 73
RCRA                                  12, 54, 60, 64, 68   surveilling                                         58
re-entrained                                          55   SWAT                                                33


                                        - 40 -
                       Declaration & Exhibits | 3:23-CV-04597-EMC
        Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 42 of 96


SWATing                                             39   US Representatives                                  12
Syria                                               26   US SEC                                              52
TCE                             13, 14, 16, 17, 57, 74   US SEC v Gene Daniel Levoff                         49
testify                                             59   US Senator                                          71
testimony                                   42, 59, 71   user study                                           8
Tetraethyl Orthosilicate                             7   user study’ secrecy oaths                           81
the “Ashley Issue”                                  20   vaccines                                        26, 52
The Verge                                           23   vapor                                                8
thousands of homes                                  54   vapor collection system                             55
Threat Assessment                                   30   vapor intrusion             11, 14, 15, 16, 21, 22, 57
threatening                                         58   vapor plumes                                        45
threats                                         58, 73   vapors                                          13, 45
toilets                                             78   vent risers                                         13
toluene                                             15   vent stacks                                         13
Toluene                                      9, 14, 74   ventilation system                                  13
tortious                                            34   vents                                       45, 55, 56
toxic gas                                           54   victim of a crime                                   62
toxic gases                                     45, 50   victims                                             10
Toxics Release Inventory                            43   victims of environmental crime                      62
trespass                                            53   video                                               69
trespassing                                         58   video recording                                 64, 69
TRI                                                 43   videos                                              78
Triple Site                                         52   vinyl chloride                          13, 14, 57, 74
TRW Microwave                               12, 13, 30   violence                                    58, 61, 75
TRW Microwave Superfund site                        52   violent                                         58, 60
TSCA                                                11   VOCs                                                 9
TSDF                                        43, 45, 46   volatile organic compounds                          13
tumors                                               8   waste                                           28, 44
Twitter 12, 18, 20, 22, 23, 24, 26, 27, 28, 31, 32, 52   waste disposers                                     46
ultrahazardous activities                           56   white/yellow/red phosphorus waste                   50
ultrahazardous activity                             56   wildfire smoke                                      15
unlicensed                                          46   witness                                             71
unsafe work conditions                              22   witness intimidation                                28
urine                                                9   witness to a crime                                  60
US Department of Justice                        27, 28   witnesses                                           10
US Department of Labor                          27, 52   workplace harassment                                26
US Dept of Labor                                    25   Workplace Violence                              30, 68
US DOL                                              39   Worldwide Loyalty                               35, 37
US EEOC                                 23, 25, 27, 39   Xylene                                               9
US EPA                                          17, 24   Zero Waste                                          45
US NLRB                                         39, 63   Zero Waste                                          44
US Representative                                   71




                                       - 41 -
                      Declaration & Exhibits | 3:23-CV-04597-EMC
   Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 43 of 96




Exhibit D: Attempt to Meet/Confer
(Emails)




        Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 44 of 96




                       - 43 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 45 of 96




                       - 44 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 46 of 96




                       - 45 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 47 of 96




                       - 46 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 48 of 96




                       - 47 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 49 of 96




                       - 48 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 50 of 96




                       - 49 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 51 of 96




                       - 50 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 52 of 96




                       - 51 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 53 of 96




                       - 52 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 54 of 96




                       - 53 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 55 of 96




                       - 54 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 56 of 96




                       - 55 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 57 of 96




                       - 56 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 58 of 96




                       - 57 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 59 of 96




                       - 58 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 60 of 96




                       - 59 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 61 of 96




                       - 60 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 62 of 96




                       - 61 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 63 of 96




                       - 62 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 64 of 96




                       - 63 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 65 of 96




                       - 64 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 66 of 96




                       - 65 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 67 of 96




                       - 66 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 68 of 96




                       - 67 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 69 of 96




                       - 68 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 70 of 96




                       - 69 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 71 of 96




                       - 70 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 72 of 96




                       - 71 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 73 of 96




                       - 72 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 74 of 96




                       - 73 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 75 of 96




                       - 74 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 76 of 96




                       - 75 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 77 of 96




                       - 76 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
   Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 78 of 96




Exhibit E: Emails RE: NLRB & Last Hearing




        Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 79 of 96




                       - 78 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 80 of 96




                       - 79 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 81 of 96




                       - 80 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 82 of 96




                       - 81 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 83 of 96




                       - 82 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 84 of 96




                       - 83 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 85 of 96




                       - 84 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 86 of 96




                       - 85 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 87 of 96




                       - 86 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
          Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 88 of 96




Exhibit  F:  June-July  2024                                                                     Wikipedia
Vandalism about This Lawsuit




Date: J u ne 2 5 20 24

So urc e :
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                                      - 87 -
                     Declaration & Exhibits | 3:23-CV-04597-EMC
          Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 89 of 96




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                                      - 88 -
                     Declaration & Exhibits | 3:23-CV-04597-EMC
          Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 90 of 96




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                                      - 89 -
                     Declaration & Exhibits | 3:23-CV-04597-EMC
          Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 91 of 96




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230 8 91 925



                                      - 90 -
                     Declaration & Exhibits | 3:23-CV-04597-EMC
          Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 92 of 96




Dates : Ju n e 25 20 24

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                                      - 91 -
                     Declaration & Exhibits | 3:23-CV-04597-EMC
             Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 93 of 96




So urc e :
ht t ps ://en .w ik i pe di a.o rg /w ik i /Wiki p ed ia :Req ue s t s_ for_ pa ge_ pro tect io n /Arc hi ve /20 24 /0 6# A
sh l ey _G j % C3 %B8v ik




So urc e :
https://en.wikipedia.org/w/index.php?title=User_talk:Augmented_Seventh&old
id=1230903026




                                     - 92 -
                    Declaration & Exhibits | 3:23-CV-04597-EMC
          Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 94 of 96




So urc e :
ht t ps ://en .w ik i pe di a.o rg /w/ in dex. ph p ?t it l e=Wik ip ed ia :Ad m in i st rator s% 2 7 _n ot ic eb oa rd / In ci d
e nt s & ol di d=1 23 0 90 95 9 7 # S in g le -e d it _ IP s _va nda li zi n g_ As h l ey_ G j % C3% B 8vik _ pa g e




                                       - 93 -
                      Declaration & Exhibits | 3:23-CV-04597-EMC
          Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 95 of 96




So urc e :
ht t ps ://en .w ik i pe di a.o rg /w/ in dex. ph p ?t it l e=Wik ip ed ia :Ad m in i st rator s% 2 7 _n ot ic eb oa rd / In ci d
e nt s & ol di d=1 23 2 28 944 8 # S in g le -e d it _ IP s _va nda li zi n g_ As h l ey_ G j % C3% B 8vik _ pa g e




                                       - 94 -
                      Declaration & Exhibits | 3:23-CV-04597-EMC
Case 3:23-cv-04597-EMC Document 87 Filed 07/31/24 Page 96 of 96




                       - 95 -
      Declaration & Exhibits | 3:23-CV-04597-EMC
